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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                           Chapter 11

TRIDENT HOLDING COMPANY, LLC, et al.,                           Case No. 19-10384 (SHL)

               Debtors.1                                        (Jointly Administered)


    GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
      AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
    ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        On February 10, 2019 (the “Petition Date”), FC Pioneer Holding Company, LLC
(“FC Pioneer”), along with twenty-two (22) affiliated debtor entities (each a “Debtor”
and, collectively, the “Debtors”), each commenced voluntary cases under chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).

       The Debtors continue to operate their businesses and manage their properties as
debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the
Bankruptcy Code. The Debtors’ cases (collectively, the “Chapter 11 Cases”) have been
consolidated for procedural purposes only and are being jointly administered under
case number 19-10384 (SHL).

       The Schedules of Assets and Liabilities (the “Schedules”) and Statements of
Financial Affairs (the “Statements” and, together with the Schedules, the “Schedules
and Statements”) were prepared pursuant to Bankruptcy Code section 521 and Rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by the
Debtors’ management using unaudited information available as of the Petition Date.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) are incorporated by reference in, and comprise an integral part of,

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    The Debtors in these chapter 11 cases, along with the last four digits of their respective tax
    identification numbers, are as follows: Trident Holding Company, LLC (6396); American Diagnostics
    Services, Inc. (2771); Community Mobile Diagnostics, LLC (9341); Community Mobile Ultrasound,
    LLC (3818); Diagnostic Labs Holdings, LLC (8024); FC Pioneer Holding Company, LLC (6683); JLMD
    Manager, LLC (8470); Kan-Di-Ki LLC (6100); Main Street Clinical Laboratory, Inc. (0907); MDX-MDL
    Holdings, LLC (2605); MetroStat Clinical Laboratory – Austin, Inc. (4366); MX Holdings, LLC (8869);
    MX USA, LLC (4885); New Trident Holdcorp, Inc. (4913); Rely Radiology Holdings, LLC (3284);
    Schryver Medical Sales and Marketing, LLC (9620); Symphony Diagnostic Services No. 1, LLC (8980);
    Trident Clinical Services Holdings, Inc. (6262); Trident Clinical Services Holdings, LLC (1255);
    TridentUSA Foot Care Services LLC (3787); TridentUSA Mobile Clinical Services, LLC (0334);
    TridentUSA Mobile Infusion Services, LLC (5173); U.S. Lab & Radiology, Inc. (4988). The address of
    the Debtors’ corporate headquarters is 930 Ridgebrook Road, 3rd Floor, Sparks, MD 21152.
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each of the Debtor’s Schedules, sub-Schedules, Statements, sub-Statements, exhibits,
and continuation sheets, and should be referred to in connection with any review of the
Schedules and Statements. Disclosure of information in one Schedule, sub-Schedule,
Statement, sub- Statement, exhibit, or continuation sheet, even if incorrectly placed,
shall be deemed to be disclosed in the correct Schedule, Statement, exhibit, or
continuation sheet.

      The Schedules and Statements and these Global Notes should not be relied
upon by any persons for information relating to current or future financial
conditions, events, or performance of any of the Debtors.

Reservation of Rights. The Debtors’ Chapter 11 Cases are large and complex. The
Debtors’ management has made every reasonable effort to ensure that the Schedules
and Statements are as accurate and complete as possible based on the information that
was available to them at the time of preparation. Subsequently discovered information
may result in material changes to these Schedules and Statements, and inadvertent
errors or omissions may have occurred. Because the Schedules and Statements contain
unaudited information, which is subject to further review, verification, and potential
adjustment, there can be no assurance that these Schedules and Statements are accurate
and/or complete.

The Debtors have made reasonable efforts to characterize, classify, categorize, or
designate the claims, assets, executory contracts, unexpired leases, and other items
reported in the Schedules and Statements correctly. Due to the complexity and size of
the Debtors’ businesses, however, the Debtors may have improperly characterized,
classified, categorized, or designated certain items. In addition, certain items reported
in the Schedules and Statements could be included in more than one category. In
certain of these instances, one category has been chosen to avoid duplication. Further,
the designation of a category is not meant to be wholly inclusive or descriptive of the
rights or obligations represented by such item.

Nothing contained in the Schedules and Statements or these Global Notes shall
constitute an admission or a waiver of rights by the Debtors with respect to these
Chapter 11 Cases, including, but not limited to, any issues involving substantive
consolidation for plan purposes, subordination, and/or causes of action arising under
the provisions of chapter 5 of the Bankruptcy Code and other relevant nonbankruptcy
laws to recover assets or avoid transfers. For the avoidance of doubt, listing a claim on
Schedule D as “secured,” on Schedule E as “priority,” on Schedule E/F as “unsecured
priority,” or listing a contract or lease on Schedule G as “executory” or “unexpired,”
does not constitute an admission by the Debtors of the legal rights of the claimant
and/or contractual counterparty, or a waiver of a Debtor’s right to recharacterize or
reclassify such claim or contract. Failure to designate a claim on a given Debtor’s
Schedules as “disputed,” “contingent,” or “unliquidated” does not constitute an
admission by the Debtors that such amount is not “disputed,” “contingent,” or
“unliquidated” or that such claim is not subject to objection. The Debtors reserve their
respective rights to dispute, or assert offsets, setoffs, or defenses to, any claim reflected
on the Schedules and Statements as to the nature, amount, liability, or status or to
otherwise subsequently designate any claim as disputed, contingent, and/or
unliquidated.

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Reporting Date. Each Debtor’s fiscal year ends on December 31. Unless otherwise
noted, the Debtors’ assets are valued as of January 31, 2019, and the Debtors’ liabilities
are valued as of the Petition Date.

Basis of Presentation. The Debtors record and report results of operations and
financial transactions at the operating entity level, which does not always correspond
to, or reflect activity at, an individual Debtor. In certain instances, the operating entity
where transactions are recorded represents the financial activities of multiple Debtors.
For example, the books and records maintained at the operating entity “Diagnostic
Laboratories” or “DL” (which is a d/b/a for the Debtor Kan-Di-Ki LLC) represents the
activity of four separate Debtors: Community Mobile Diagnostics, LLC (9341);
Community Mobile Ultrasound, LLC (3818); MDX-MDL Holdings, LLC (2605); and
Kan-Di-Ki LLC (6100). Because the financial information and detail is not presently
available to report for each individual Debtor, the responses for these four Debtors and
are reflected on the Kan-Di-Ki LLC (6100) Statements. Likewise, the financial
information reported at the operating entity “Schryver” or “SM2” (which is a d/b/a for
the Debtor Schryver Medical Sales and Marketing, LLC) represents the activity of three
Debtors: Main Street Clinical Laboratory, Inc. (0907); MetroStat Clinical Laboratory –
Austin, Inc. (4366); and Schryver Medical Sales and Marketing, LLC (9620). The
activity for these three Debtors are reflected on the Schryver Medical Sales and
Marketing, LLC (9620) Statements. Seven of the Debtors (American Diagnostics
Services, Inc. (2771), JLMD Manager, LLC (8470), MX USA, LLC (4885), Symphony
Diagnostic Services No. 1, LLC (8980), TridentUSA Mobile Clinical Services, LLC (0334),
TridentUSA Mobile Infusion Services, LLC (5173), and U.S. Lab & Radiology, Inc.
(4988)) maintain separate books and records. The remaining nine Debtors (FC Pioneer
Holding Company, LLC (6683), Trident Holding Company, LLC (6396), New Trident
Holdcorp, Inc. (4913), MX Holdings, LLC (8869), Diagnostic Labs Holdings, LLC (8024),
Rely Radiology Holdings, LLC (3284), Trident Clinical Services Holdings, Inc. (6262),
Trident Clinical Services Holdings, LLC (1255), and TridentUSA Foot Care Services LLC
(3787)) have no business activity and therefore do not maintain books and records.

The Schedules and Statements are unaudited. Unlike the historical
consolidated financial statements, the Schedules and Statements generally reflect the
assets and liabilities on a non-consolidated basis as described above. Accordingly, the
amounts listed in the Schedules and Statements will likely differ, at times
materially, from the consolidated financial reports.

Although the Schedules and Statements may, at times, incorporate information
prepared in accordance with United States generally accepted accounting principles
(“GAAP”), the Schedules and Statements neither purport to represent nor reconcile to
financial statements otherwise prepared and/or distributed by the Debtors in
accordance with GAAP or otherwise.

Currency. All amounts are reflected in U.S. dollars, unless otherwise indicated.

Estimates and Assumptions. The preparation of the Schedules and Statements
required the Debtors to make estimates and assumptions that affected the reported
amounts of certain assets and liabilities, the disclosure of certain contingent assets and


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liabilities, and the reported amounts of revenue and expense. Actual results could
differ materially from these estimates.

Totals. All totals that are included in the Schedules and Statements represent totals of
all known amounts. To the extent there are unknown or undetermined amounts, the
actual totals may be different than the listed totals.

Undetermined or Unknown Amounts. The description of an amount as
“Undetermined” or “Unknown” is not intended to reflect upon the materiality of such
amount. Certain amounts may be clarified during the course of the Chapter 11 Cases.

Asset Presentation and Valuation. The Debtors’ assets are presented at values
consistent with their books and records. These values do not purport to represent the
ultimate value that would be received in the event of a sale, and may not represent
economic value as determined by an appraisal or other valuation technique. As it
would be prohibitively expensive and an inefficient use of estate assets for the Debtors
to obtain current economic valuations for all of their assets, unless otherwise noted, the
carrying value on the Debtors’ books (e.g., net book value), rather than current
economic value, is reflected on the Schedules and Statements.

Contingent Assets and Causes of Action. Despite their reasonable efforts to identify
all known assets, the Debtors may not have listed all of their causes of action or
potential causes of action against third parties as assets in their Schedules and
Statements, including, but not limited to, avoidance actions arising under chapter 5 of
the Bankruptcy Code and actions under other relevant nonbankruptcy laws to recover
assets. The Debtors reserve all of their rights with respect to any claims, causes of
action, or avoidance actions they may have, and neither these Global Notes nor the
Schedules and Statements shall be deemed a waiver of any such claims, causes of
actions, or avoidance actions or in any way prejudice or impair the assertion of such
claims.

The Debtors may also possess contingent and unliquidated claims against affiliated
entities (both Debtor and non-Debtor) for various financial accommodations and similar
benefits they have extended from time to time, including, but not limited to, contingent
and unliquidated claims for contribution, reimbursement, and/or indemnification
arising from various (a) guarantees, (b) indemnities, (c) tax-sharing agreements,
(d) warranties, (e) operational and servicing agreements, (f) shared service agreements,
and (g) other arrangements.

Additionally, prior to the Petition Date, each Debtor may have commenced various
lawsuits in the ordinary course of its business against third parties seeking monetary
damages for business-related losses. Refer to Statement Question 7 for each Debtor or
corresponding attachment for a list of lawsuits commenced prior to the Petition Date in
which the Debtor was a plaintiff, except as noted below.

Pledged Assets. A significant amount of the assets listed on the Debtors’ Schedule A/B
have been pledged as collateral by the Debtors. These assets include, among other
things, cash, securities, inventories, equipment, equity interests in subsidiaries, and
other related assets.

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Liabilities. Some of the scheduled liabilities are unknown, contingent, and/or
unliquidated at this time. In such cases, the amounts are listed as “Unknown” or
“Undetermined.” Accordingly, the Schedules and the Statements may not equal the
aggregate value of the Debtors’ total liabilities as noted on any previously issued
financial statements.

The Debtors have sought to allocate liabilities between the prepetition and postpetition
periods based on the information and research that was conducted in connection with
the preparation of the Schedules and Statements. As additional information becomes
available and further research is conducted, the allocation of liabilities between
prepetition and postpetition periods may change. The Debtors reserve the right to, but
are not required to, amend the Schedules and Statements as they deem appropriate to
reflect this.

The liabilities listed on the Schedules and Statements do not reflect any analysis of
claims under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors
reserve all rights to dispute or challenge the validity of any asserted claims under
section 503(b)(9) of the Bankruptcy Code or the characterization of the structure of any
such transaction or any document or instrument related to any creditor’s claim.

Excluded Assets and Liabilities. The Debtors believe that they have identified, but did
not necessarily value, all material categories of assets and liabilities in the Schedules.
The Debtors have excluded the following items which may be included in their GAAP
financial statements from the Schedules: certain accrued liabilities, including, without
limitation, accrued salaries, employee benefit accruals, and certain other accruals, trusts,
certain prepaid and other current assets considered to have no market value, and
deferred gains. The Debtors also have excluded rejection damage claims of
counterparties to executory contracts and unexpired leases that may be rejected, to the
extent such damage claims exist. Other immaterial assets and liabilities may also have
been excluded.

Confidentiality. Addresses of current and former employees (including directors and
officers) of the Debtors are generally not included in the Schedules and Statements.
Notwithstanding, the Debtors will mail any required notice or other documents to the
address in their books and records for such individuals.

Specific disclosure of certain claims, names, addresses, or amounts may be subject to
certain disclosure restrictions contained in the Health Insurance Portability and
Accountability Act of 1996 (“HIPAA”), or otherwise, and in any event, are of a
particularly personal and private nature. On February 12, 2019, the Court entered the
Order Authorizing Certain Procedures to Maintain and Protect the Confidentiality of Patient
Information as Required by Applicable Privacy Rules [Docket No. 40] (the “Privacy
Procedures Order”) establishing certain Privacy Procedures (as defined in the Privacy
Procedures Order). With respect to the Schedules and Statements, the Privacy
Procedures Order provides that:

               (b)    the Debtors shall identify current or former patients
               in the Schedules and Statements solely by a code number,
               such as “Patient 1,” “Patient 2,” and so forth, and shall make

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               an unredacted copy of the Schedules and Statements
               available to (i) the Court and to the United States Trustee
               upon request; and (ii) any other party-in-interest only after
               this Court has entered an order, after notice and a hearing,
               authorizing the Debtors or the Claims and Noticing Agent to
               do so.

Privacy Procedures Order ¶ 2(b). In accordance with HIPAA and the Privacy
Procedures Order, to the extent the Debtors believe a claim, name, address, or amount
falls under the purview of HIPAA or includes information that is personal or private in
nature, such claims, names, addresses, or amounts, as applicable, have been redacted.

Intercompany Transactions. Prior to the Petition Date (and subsequent to the Petition
Date but only pursuant to Bankruptcy Court approval), the Debtors routinely engaged
(and continue to engage) in intercompany transactions with both Debtor and non-
Debtor subsidiaries and affiliates. The Debtors have historically maintained their books
and records on a regional or product-line basis rather than a legal-entity basis.
Accordingly, Debtor entity-level information regarding intercompany transactions is
not reflected in the Schedules where such information is unavailable. The Debtors and
their professional advisors are continuing to work through the thousands of
intercompany transactions among and between the Debtors and their non-Debtor
subsidiaries and affiliates.

Bankruptcy Court First-Day Orders. The Bankruptcy Court has authorized the
Debtors to pay various outstanding prepetition claims, including, but not limited to,
payments relating to the Debtors’ employee wages and compensation, customer
programs and refunds, benefits, reimbursable business expenses, certain taxes and
insurance, and certain critical vendors and lien claimants (such orders, collectively,
the “First-Day Orders”). Accordingly, the scheduled claims are intended to reflect
sums due and owing before the Petition Date for which the Debtors did not obtain relief
from the Bankruptcy Court to satisfy. The estimate of claims set forth in the Schedules,
however, may not reflect assertions by the Debtors’ creditors of a right to have such
claims paid or reclassified under the Bankruptcy Code or orders of the Bankruptcy
Court.

Liens. The inclusion on Schedule D of creditors that have asserted liens against the
Debtors is not an acknowledgement of the validity, extent, or priority of any such liens,
and, except as otherwise agreed to in accordance with a stipulation or order entered by
the Bankruptcy Court, the Debtors reserve their right to challenge such liens and the
underlying claims on any ground whatsoever. Reference to the applicable agreements
and other relevant documents is necessary for a complete description of the collateral
and the nature, extent, and priority of any liens. Nothing in these Global Notes or the
Schedules and Statements shall be deemed a modification or interpretation of the terms
of such agreements. Certain liens may have been inadvertently marked as disputed but
had previously been acknowledged in an order of the Court as not being disputed by
the Debtors. It is not the Debtors’ intent that Schedules be construed to supersede any
orders entered by the Bankruptcy Court.



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To the extent the value of the collateral securing a claim listed on Schedule D is
insufficient to satisfy the full amount such claim, the holder of such undersecured claim
will have an unsecured deficiency claim against the applicable Debtor for the remaining
amount. Such unsecured deficiency claims are not listed on Schedule E/F.

Leases. In the ordinary course of their businesses, the Debtors lease facilities and
equipment from certain third-party lessors for use in their daily operations. Any such
leases and equipment are set forth in Schedules A/B and G. Nothing in the Schedules
is or shall be construed as an admission or determination as to the legal status of any
lease (including whether any lease is a true lease or a financing arrangement), and the
Debtors reserve all rights with respect to any such issues.

Leasehold improvements listed in Schedule A/B may become property of the landlord
upon termination of the lease.

Intellectual Property Rights. Exclusion of certain intellectual property shall not be
construed to be an admission that those intellectual property rights have been sold,
abandoned, or terminated, or otherwise have expired by their terms, or have been
assigned or otherwise transferred pursuant to a sale, acquisition, or other transaction.
Conversely, inclusion of certain intellectual property shall not be construed to be an
admission that those intellectual property rights have not been abandoned, have not
been terminated, or otherwise have not expired by their terms, or have not been
assigned or otherwise transferred pursuant to a sale, acquisition, or other transaction.
Accordingly, the Debtors reserve all of their rights as to the legal status of all intellectual
property rights.

Setoff. Prior to the Petition Date, and in the ordinary course of their businesses, the
Debtors incurred setoffs in connection with, among other things, intercompany and
third-party transactions. Unless otherwise stated, certain setoffs that were incurred in
the ordinary course or under customary practices are not listed in the Schedules and
Statements and the Debtors have not intentionally offset amounts listed on Schedules
A/B, D, or E/F. Nonetheless, some amounts listed may have been affected by setoffs of
which the Debtors are not yet aware. The Debtors reserve all rights to challenge any
setoff and/or recoupment rights that may be asserted.

Guarantees and Other Secondary Liability Claims. The Debtors have used their
reasonable best efforts to locate and identify guarantees and other secondary liability
claims (collectively, “Guarantees”) in each of their executory contracts, unexpired
leases, secured financings, debt instruments, and other such agreements. Where such
Guarantees have been identified, they have been included in the relevant Schedule for
the Debtor or Debtors affected by such Guarantees. The Debtors have placed Guaranty
obligations on Schedule H for both the primary obligor and the guarantor of the
relevant obligation. Such Guarantees were also placed on Schedule D or E/F for each
guarantor, except to the extent that such Guarantee is associated with obligations under
an executory contract or unexpired lease identified on Schedule G. Further, it is
possible that certain Guarantees embedded in the Debtors’ executory contracts,
unexpired leases, secured financings, debt instruments, and other such agreements may
have been inadvertently omitted. Thus, the Debtors reserve their rights to amend the
Schedules and Statements to the extent that additional Guarantees are identified. In

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addition, the Debtors reserve the right to amend the Schedules and Statements to
recharacterize or reclassify any such contract or claim.

Payments. The financial affairs and businesses of the Debtors are complex. Before the
Petition Date, the Debtors and certain of their non-Debtor affiliates participated in a
consolidated cash management system through which certain payments were made by
one entity on behalf of another. As a result, certain payments reported in the
Statements may have been made prepetition by one Debtor entity on behalf of another
Debtor entity through the operation of the consolidated cash management system. A
description of the Debtors’ prepetition cash management system is set forth in the
Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Continued Use of
Existing Cash Management System, Bank Accounts, and Business Forms and Payment of
Related Prepetition Obligations; (II) Modifying Certain Deposit Requirements; and
(III) Authorizing Continuance of Intercompany Transactions and Honoring Certain Related
Prepetition Obligations [Docket No. 9] (the “Cash Management Motion”).

Insiders. For purposes of their responses to Statement Questions 28 and 29, the
Debtors have listed their respective officers and directors for each individual Debtor
entity to the extent available based on current records. For purposes of Statement
Question 4, the Debtors have included the following as “insiders”: (a) all members of
the board of directors of the Debtors; (b) six of the Debtors’ senior executives; and
(c) certain Debtor affiliates of each Debtor (representing either the direct parent or
direct subsidiary—to the extent such affiliate is also a Debtor). In the ordinary course
of the Debtors’ businesses, directors and officers of one Debtor may have been
employed and paid by another Debtor or a non-Debtor affiliate.

!Persons listed as “insiders” have been included for informational purposes only. The
Debtors do not take any position with respect to: (a) such person’s influence over the
control of the Debtors; (b) the management responsibilities or functions of such
individual; (c) the decision-making or corporate authority of such individual; or
(d) whether such individual could successfully argue that he or she is not an “insider”
under applicable law, including the federal securities laws, or with respect to any
theories of liability or for any other purpose.

Signatory. The Schedules and Statements have been signed by David F. Smith III, in
his capacity as Chief Financial Officer of the Debtors. In reviewing and signing the
Schedules and Statements, Mr. Smith has necessarily relied upon the efforts,
statements, and representations of various of the Debtors’ personnel and professionals.
Mr. Smith has not (and could not have) personally verified the accuracy of each such
statement and representation, including statements and representations concerning
amounts owed to creditors and their addresses.

Limitation of Liability. The Debtors and their officers, employees, agents, attorneys,
and financial advisors do not guarantee or warrant the accuracy, completeness, or
currentness of the data that is provided herein and shall not be liable for any loss or
injury arising out of or caused, in whole or in part, by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating, or delivering the information contained herein. In no event
shall the Debtors or their officers, employees, agents, attorneys, and financial advisors

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be liable to any third party for any direct, indirect, incidental, consequential, or special
damages (including, but not limited to, damages arising from the disallowance of a
potential claim against the Debtors or damages to business reputation, lost business, or
lost profits), whether foreseeable or not and however caused.

      In addition to the foregoing, the following conventions were adopted by the
Debtors in the preparation of the Schedules and Statements:

                        Schedules of Assets and Liabilities
Schedule A/B Notes.

   •   General. Each Debtor’s assets in Schedule A/B are listed at net book value based
       on the Debtors’ reasonable best efforts as of January 31, 2019, unless otherwise
       noted, and may not necessarily reflect the market or recoverable value of these
       assets as of the Petition Date. As of the date of these filings, the Debtors are still
       in the process of completing the audit of their books and records as of
       December 31, 2018, as well as finalizing their records as of the Petition Date. As
       such, the balances presented in Schedule A/B are subject to further revision and
       change.

   •   Deposits, Including Security Deposits and Utility Deposits (AB7). The current
       value of each Debtor’s interest in deposits is provided as of January 31, 2019.

   •   Prepayments, Including Prepayments on Executory Contracts, Leases, Insurance,
       Taxes, and Rent (AB8). The current value of each Debtor’s interest in
       prepayments is provided as of January 31, 2019.

   •   Accounts Receivable (AB11). The current value of each Debtor’s interest in
       accounts receivable is provided as of January 31, 2019.

   •   Non-Publicly Traded Stock and Interests in Incorporated and Unincorporated
       Businesses, Including Any Interest in an LLC, Partnership, or Joint Venture
       (AB15). The value of the Debtors’ ownership interests in subsidiaries and other
       affiliates have been identified in AB15 in an undetermined amount because the
       fair market value of such ownership interest is dependent on numerous variables
       and factors that may cause their fair market value to differ materially from their
       net book value.

   •   Inventory, Excluding Agriculture Assets (AB19–26). The current value of each
       Debtor’s interest in inventory is provided as of January 31, 2019.

   •   Inventory Purchased Within 20 Days Before Petition Date (AB25). The Debtors
       purchased inventory and supplies on a regular basis, and the Debtors continued
       to make purchases within the 20 days prior to the Petition Date. However, given
       the number of Debtors and the complexity of their businesses, it would be
       unduly burdensome to obtain and verify a list of all purchases made within 20


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       days of their respective Petition Date. As such, the Debtors have not determined
       the value of inventory purchases within 20 days of the filing.

   •   Office Furniture, Fixtures, and Equipment (AB39–41). The current value of each
       Debtor’s interest in office furniture, fixtures, and equipment is provided as of
       January 31, 2019.

   •   Business Licenses (AB62). The Debtors have listed all known business licenses
       for each Debtor. Any omissions were due to system limitations or inadvertent
       error. Under the Bankruptcy Code, any omitted business licenses are not
       impaired by omission. The Schedules may be amended at any time to add any
       omitted business licenses.

   •   Tax Refunds and Net Operating Losses (AB72). Certain Debtors have
       accumulated significant net operating loss (“NOL”) carryforwards and other tax
       credit carryovers for United States federal and state income tax purposes.
       However, as of the Petition Date, the estimated value of these NOLs is unknown.

Schedule D Notes.

   •   Creditors’ claims on Schedule D arose, or were incurred, on various dates. In
       certain instances, the date on which such claim arose is an open issue of fact.

   •   Except as otherwise agreed in accordance with a stipulation and order entered by
       the Bankruptcy Court, the Debtors reserve their rights to dispute or challenge the
       validity, perfection, or immunity from avoidance of any lien listed on Schedule D
       purported to be granted to a secured creditor or perfected in any specific asset.

   •   Moreover, although the Debtors may have scheduled claims of various creditors
       as secured claims, the Debtors reserve all rights, except as otherwise agreed to in
       accordance with a stipulation and order entered by the Bankruptcy Court, to
       dispute or challenge the secured nature of any creditor’s claim or the
       characterization of the structure of any transaction or any document or
       instrument (including, without limitation, any intercompany agreement) related
       to such creditor’s claim.

   •   In certain instances, a Debtor may be a co-obligor or guarantor with respect to
       scheduled claims of other Debtors, and no claim scheduled on Schedule D is
       intended to acknowledge claims of creditors that are otherwise satisfied or
       discharged by other Debtors or other entities.

   •   The Debtors have not included on Schedule D parties that may believe their
       claims are secured through setoff rights or inchoate statutory lien rights.
       Although there are multiple parties that hold a portion of the debt included in
       the Debtors’ prepetition secured credit facilities, only the administrative agents
       have been listed for purposes of Schedule D. The amounts outstanding under



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       the Debtors’ prepetition secured credit facilities reflect approximate amounts as
       of the Petition Date.

   •   The descriptions provided on Schedule D are intended only as a summary.
       Reference to the applicable loan agreements and related documents is necessary
       for a complete description of the collateral and the nature, extent, and priority of
       any liens. Nothing in these Global Notes or in the Schedules and Statements
       shall be deemed a modification or interpretation of the terms of such agreements
       or related documents.

   •   To the extent the value of the collateral securing a claim listed on Schedule D is
       insufficient to satisfy the full amount such claim, the holder of such
       undersecured claim will have an unsecured deficiency claim against the
       applicable Debtor for the remaining amount. Such unsecured deficiency claims
       are not listed on Schedule E/F.

Schedule E/F Notes.

   •   The Debtors have made reasonable efforts to report all priority and general
       unsecured claims against the Debtors on Schedule E/F based on the Debtors’
       books and records as of the Petition Date. However, the actual amount of claims
       against the Debtors may vary significantly from the represented liabilities.
       Parties in interest should not accept that the listed liabilities necessarily reflect
       the correct amount of any unsecured creditor’s allowed claims or the correct
       amount of all unsecured claims. Similarly, parties in interest should not
       anticipate that recoveries in these cases will reflect the relationship of the
       aggregate asset values and aggregate liabilities set forth in the Schedules. Parties
       in interest should consult their own professionals and advisors with respect to
       pursuing a claim. Actual liabilities (and assets) may deviate significantly from
       the Schedules due to certain events that occur throughout these Chapter 11
       Cases.

   •   The claims listed on Schedule E/F arose or were incurred on various dates. In
       certain instances, the date on which a claim arose may be unknown or subject to
       dispute. Although reasonable efforts have been made to determine the date
       upon which claims listed on Schedule E/F were incurred or arose, fixing that
       date for each claim on Schedule E/F would be unduly burdensome and cost-
       prohibitive and, therefore, the Debtors have not listed a date for each claim listed
       on Schedule E/F.

   •   Certain tax claims are, or may in the future be, subject to audit, and the Debtors
       are unable to determine with certainty the amount of certain tax claims listed on
       Schedule E/F. Therefore, the Debtors have listed such claims as “Unliquidated”
       in amount, pending final resolution of any ongoing or future audits or
       outstanding issues. In addition, there may be other contingent, unliquidated
       claims from state and local taxing authorities, not all of which are listed.




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   •   The Bankruptcy Court has approved the payment of certain unsecured employee
       claims against the Debtors including, without limitation, certain claims of
       employees for wages, salaries, and benefits including paid time off (“PTO”).
       Due to confidentiality concerns, the Debtors have suppressed the addresses of
       the employee claimants listed on Schedule E/F. Additionally, due to system
       limitations and resource constraints within the Debtors’ human resource
       functions, the Debtors are unable at this time to accurately present accrued but
       unpaid remaining PTO as of the Petition Date and have excluded such claims in
       the presentation of Schedule E/F. In general, all other employee claims for items
       that were not clearly authorized to be paid by the Bankruptcy Court have been
       included in the Schedules and Statements.

   •   The listing of any priority claim on Schedule E/F does not constitute an
       admission by the Debtors that such claim is entitled to priority treatment under
       section 507 of the Bankruptcy Code. The Debtors reserve the right to take the
       position that any claim listed on Schedule E/F is not entitled to priority.

   •   The Bankruptcy Court approved the payment of certain non-priority unsecured
       claims against the Debtors including, without limitation, claims of critical
       vendors and lien claimants. While the Debtors have made every effort to reflect
       the current obligations on Schedule E/F, certain payments made, and certain
       invoices received, after the Petition Date may not be accounted for in Schedule
       E/F.

   •   Schedule E/F also contains the information available to the Debtors at this time
       regarding pending litigation involving the Debtors. The inclusion of any legal
       action in the Schedules and Statements does not constitute an admission by the
       Debtors of any liability, the validity of any litigation, the amount of any potential
       claim that may result with respect to any legal action, or the amount and
       treatment of any potential claim resulting from any legal action currently
       pending or that may arise in the future.

   •   The information regarding litigation involving the Debtors includes medical
       malpractice lawsuits. All asserted or potential medical malpractice claims
       reference in Schedule E/F are contingent, unliquidated, and disputed. Specific
       disclosure regarding asserted or potential medical malpractice claims may be
       subject to certain disclosure restrictions contained in HIPAA and, in any event,
       are of a peculiarly personal and private nature. The Debtors continue to research
       any possible HIPAA or other restrictions with respect to disclosure of asserted or
       potential malpractice claims. The Debtors will amend or supplement these
       Schedules and Statements as necessary or appropriate in this regard. The
       Debtors also intend to petition the Court for separate notice procedures with
       regard to providing notice to medical malpractice claimants of these Chapter 11
       Cases and any bar dates.

   •   Schedule E/F does not include certain deferred liabilities, accruals, or general
       reserves. Such amounts are general estimates and do not represent specific
       claims as of the Petition Date for each respective Debtor.

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   •   In the ordinary course of business, the Debtors generally receive invoices for
       goods and services after the delivery of such goods or services. As of the filing of
       the Schedules and Statements, the Debtors had not received all invoices for
       payables, expenses, or liabilities that may have accrued before the Petition Date.
       Accordingly, the information contained in Schedules E/F may be incomplete.
       The Debtors reserve the right, but are not required, to amend Schedules E/F if
       and as they receive such invoices. The claims of individual creditors are
       generally listed at the amounts recorded on the Debtors’ books and records and
       may not reflect credits or allowances due from the creditor. The Debtors reserve
       all of their rights concerning credits or allowances.

   •   As part of the Debtors’ normal business operations, overpayments from
       customers, patients, and insurance companies are recorded from time to time.
       The unreconciled amount of such overpayments as recorded in the Debtors’
       accounting records are approximations because reconciling and determining the
       exact amount payable with respect to such overpayments is a time-consuming
       manual process. Generally, the Debtors only calculate the exact amount of the
       customer, patient, and insurance company overpayments if and when the payor
       requests a refund. The number of customers, patients, or insurance companies
       that will ultimately be entitled to a refund is not possible to know at this time.
       Thus, out of an abundance of caution, the Debtors have scheduled all customer,
       patient, and insurance company overpayments they are currently aware of as
       contingent and unliquidated claims in “Undetermined” or “Unknown” amounts.
       Consistent with the Privacy Procedures Order and HIPAA disclosure
       restrictions, the names of current or former patients with potential overpayment
       claims are listed by a code number such as “Patient 1,” “Patient 2,” and so forth.

   •   The Debtors are continuing to work with their insurance broker and insurance
       carriers to obtain contact information for plaintiffs in certain pending claims and
       litigations involving the Debtors. To the extent the Debtors are able to obtain
       such additional information, the Debtors will file an amendment to the
       Statements incorporating such information.

   •   To the extent the value of the collateral securing a claim listed on Schedule D is
       insufficient to satisfy the full amount such claim, the holder of such
       undersecured claim will have an unsecured deficiency claim against the
       applicable Debtor for the remaining amount. Such unsecured deficiency claims
       are not listed on Schedule E/F.

Schedule G Notes.

   •   The Debtors hereby reserve all rights to dispute the validity, status, or
       enforceability of any contracts, agreements, or leases set forth in Schedule G and
       to amend or supplement Schedule G as necessary. Additionally, the placing of a
       contract or lease onto Schedule G shall not be deemed an admission that such
       contract is an executory contract or unexpired lease, or that it is necessarily a
       binding, valid, and enforceable contract. Any and all of the Debtors’ rights,
       claims, and causes of action with respect to the contracts and agreements listed

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       on Schedule G are hereby reserved and preserved. In addition, the Debtors are
       continuing their review of all relevant documents and expressly reserve their
       right to amend all Schedules at a later time as necessary and/or to challenge the
       classification of any agreement as an executory contract or unexpired lease in any
       appropriate filing.

   •   The same supplier or provider may appear multiple times in Schedule G. This
       multiple listing is intended to reflect distinct agreements between the applicable
       Debtor and such supplier or provider.

   •   Omission of a contract or agreement from Schedule G does not constitute an
       admission that such omitted contract or agreement is not an executory contract
       or unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect
       to any such omitted contracts or agreements are not impaired by the omission.
       Schedule G may be amended at any time to add any omitted contract or
       agreement.

   •   The contracts, agreements, and leases listed on Schedule G may have expired or
       may have been rejected, terminated, assigned, modified, amended, and/or
       supplemented from time to time by various amendments, change orders,
       restatements, waivers, estoppel certificates, letters, and other documents,
       instruments, and agreements that may not be listed therein or that may be listed
       as a single entry. The Debtors expressly reserve their rights to challenge whether
       such related materials constitute an executory contract, a single contract or
       agreement, or multiple, severable, or separate contracts.

   •   Certain of the real property leases listed on Schedule G may contain renewal
       options, guarantees of payment, options to purchase, rights of first refusal, rights
       to lease additional space, and other miscellaneous rights. Such rights, powers,
       duties, and obligations are not set forth on Schedule G. Certain of the
       agreements listed on Schedule G may be in the nature of conditional sales
       agreements or secured financings, and their inclusion on Schedule G is not an
       admission that the agreement is an executory contract, financing agreement, or
       otherwise.

   •   Certain of the contracts, agreements, and leases listed on Schedule G may have
       been entered into by more than one of the Debtors. Further, in certain instances,
       the specific Debtor obligor to an executory contract could not be ascertained. In
       such cases, the Debtors have made their best efforts to determine the correct
       Debtor’s Schedule G on which to list such executory contract.

Schedule H Notes.

   •   In the ordinary course of their businesses, the Debtors may be involved in
       pending or threatened litigation and claims. These matters may involve multiple
       plaintiffs and defendants, some or all of which may assert cross-claims and
       counterclaims against other parties. Because all such claims are “contingent,”


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       “unliquidated,” or “disputed,” such claims have not been set forth individually
       on Schedule H.

   •   Although there are multiple parties that hold a portion of the debt included in
       the Debtors’ prepetition secured credit facilities and unsecured notes, only the
       administrative agents and indenture trustees, as applicable, have been listed for
       purposes of Schedule H.

                           Statement of Financial Affairs
Statement Question 1 – Income from Operations. Gross revenue before deductions
and exclusions is provided as of January 31, 2019.

Statement Questions 3 and 4 – 90-Day Payments and Payments to Insiders. For the
Debtors, cash is treated as fungible. Cash is often transferred between Debtor accounts
and disbursements are made out of Debtor bank accounts on behalf of other Debtors.
The Debtor for which a disbursement is booked on the financials is not always the same
Debtor on the bank account from which a disbursement is paid. Therefore, the
disbursements listed in Statement Questions 3 and 4 are not listed by the Debtor for
which a disbursement was booked, but rather by the Debtor from whose bank account
the disbursement was paid. Refer to Global Note “Insiders” for further detail on
Statement Question 4.

Statement Question 7 – Legal Actions. The Debtors have made reasonable best efforts
to identify all current pending litigation involving the Debtors. However, certain
omissions may have occurred. The inclusion of any legal action in this question does
not constitute an admission by the Debtors of any liability, the validity of any litigation,
the amount of any potential claim that may result with respect to any legal action, or the
amount and treatment of any potential claim resulting from any legal action currently
pending or that may arise in the future.

The Debtors are continuing to work with their insurance broker and insurance carriers
to obtain contact information for plaintiffs in certain pending litigations involving the
Debtors. To the extent the Debtors are able to obtain such additional information, the
Debtors will file an amendment to the Statements incorporating such information.

Statement Question 11 – Payments Related to Bankruptcy. During the year prior to
the Petition Date, the Debtors sought assistance from various professionals and have
included all payments made to those professionals, including those services unrelated
to the bankruptcy filing. Due to timing and resource limitations, the Debtors are unable
to effectively bifurcate payments solely related to debt restructuring and/or bankruptcy
for the one-year period prior to the Petition Date. As a result, the payments listed in
response to this question may include payments not related to debt restructuring
and/or bankruptcy for certain professionals listed.

Statement Question 17 – ERISA, 401(k), 403(b), Pension Funds. During the six years
prior to the Petition Date, the Debtors acquired numerous entities whose employees
participated in ERISA, 401(k), 403(b), or other pension or profit-sharing plans made
available by such entities as employee benefits (each, an “Employee Plan”).

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Accordingly, although the Debtors have included all Employee Plans they currently
maintain in Statement Question 17, certain discontinued Employee Plans may have
been omitted.

Statement Question 25 – Businesses in Which the Debtors Have an Interest. Given
the complexities of the organizational structure of the Debtors, for purposes of
Statement Question 25, the Debtors have listed only the direct subsidiaries of each
Debtor entity.

Statement Question 26d – Recipients of Financial Statements. The Debtors did not
maintain detailed records of the numerous financial institutions, creditors, and other
parties to whom they have provided financial statements in the ordinary course of
business within two years immediately before the Petition Date. Although the Debtors
have made reasonable efforts to identify all such recipients, there may be inadvertent
errors or omissions for Statement Question 26d.

Statement Question 28 and 29 – Current and Former Officer and Directors. The
Debtors have made reasonable best efforts to list the known current and former officers
and directors for each Debtor entity based on a review of existing books and records
and other available information that may not be complete and updated as of the
Petition Date. As such, there may be inadvertent errors or omissions for Statement
Questions 28 and 29 due to these limitations. See Global Note “Insiders” for further
detail.

Statement Question 30 – Payments, Distributions, or Withdrawals to Insiders. Refer
to Statement Question 4 for this item.




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               information to identify the260
                                           case:                         Filed 03/26/19 Entered 03/26/19 19:27:06                                                     Main Document
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 Debtor        Trident Holding Company, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number           19-10384
  (if known)
                                                                                                                                                                           ¨ Check if this is an
                                                                                                                                                                              amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                   12/15



  Part 1:       Summary of Assets



 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                       N/A
         Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1b. Total personal property:
                                                                                                                                                                               $274,314.11
         Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1c. Total of all property:
                                                                                                                                                                               $274,314.11
         Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:       Summary of Liabilities



   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                           $648,791,886.28
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D . . . . . . . . .



   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                       N/A
            Copy the total claims from Part 1 from line 6a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .


        3b. Total amount of claims of nonpriority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +         $36,127,641.60




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                            $684,919,527.88
      Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                  Page 1 of 1
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               information to identify the260
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 Debtor        Trident Holding Company, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number          19-10384
  (if known)
                                                                                                                                    ¨ Check if this is an
                                                                                                                                       amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                 12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.    DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
       ¨       No. Go to Part 2.
       þ       Yes. Fill in the information below.



          All cash or cash equivalents owned or controlled by the debtor                                                            Current value of
                                                                                                                                    debtor’s interest

 2.    CASH ON HAND
       NONE

 3.    CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
       (IDENTIFY ALL)
       Name of institution (bank or brokerage firm)                      Type of account          Last 4 digits of account number
       3.1.         M&T BANK                                             CHECKING                 2649                                        $274,314.11

 4.    OTHER CASH EQUIVALENTS
       NONE

 5     Total of Part 1.
       ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                                           $274,314.11
       TOTAL TO LINE 80.

 Part 2:        DEPOSITS AND PREPAYMENTS

 6.    DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
       þ       No. Go to Part 3.
       ¨       Yes. Fill in the information below.


                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest

 7.    DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
       DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT

 8.    PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
       INSURANCE, TAXES, AND RENT
       DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT



Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                                        Page 1 of 8
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 9    Total of Part 2.
      ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                      N/A


 Part 3:     ACCOUNTS RECEIVABLE

 10. DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
      þ     No. Go to Part 4.
      ¨     Yes. Fill in the information below.


                                                                                                                         Current value of
                                                                                                                         debtor’s interest

 11. ACCOUNTS RECEIVABLE

 12   Total of Part 3.
      CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                                 N/A


 Part 4:     INVESTMENTS

 13. DOES THE DEBTOR OWN ANY INVESTMENTS?
      þ     No. Go to Part 5.
      ¨     Yes. Fill in the information below.


                                                                                                Valuation method used    Current value of
                                                                                                for current value        debtor’s interest

 14. MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
      NAME OF FUND OR STOCK:

 15. NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
     UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
     OR JOINT VENTURE

 16. GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
     NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
      DESCRIBE:

 17   Total of Part 4.
      ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                                    N/A


 Part 5:     INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18. DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
      þ     No. Go to Part 6.
      ¨     Yes. Fill in the information below.



          General description                         Date of the last     Net book value of     Valuation method used   Current value of
                                                      physical inventory   debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 19. RAW MATERIALS

 20. WORK IN PROGRESS

 21. FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE

 22. OTHER INVENTORY OR SUPPLIES

 23   Total of Part 5.
      ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                                    N/A

 24. Is any of the property listed in Part 5 perishable?
     þ No
     ¨ Yes



Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                 Page 2 of 8
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 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes      Book value                      Valuation method                                                    Current value

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 6:     FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27. DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
     LAND)?
      þ     No. Go to Part 7.
      ¨     Yes. Fill in the information below.


          General description                                              Net book value of     Valuation method used   Current value of
                                                                           debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 28. CROPS—EITHER PLANTED OR HARVESTED

 29. FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH EXAMPLES:
     LIVESTOCK, POULTRY, FARM-RAISED FISH

 30. FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
     THAN TITLED MOTOR VEHICLES)

 31. FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED

 32. OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6

 33   Total of Part 6.
      ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                                    N/A

 34. Is the debtor a member of an agricultural cooperative?
     þ No
     ¨ Yes. Is any of the debtor’s property stored at the cooperative?
          ¨ No
          ¨ Yes
 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes
 36. Is a depreciation schedule available for any of the property listed in Part 6?
     þ No
     ¨ Yes
 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 7:     OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38. DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
      þ     No. Go to Part 8.
      ¨     Yes. Fill in the information below.



          General description                                              Net book value of     Valuation method used   Current value of
                                                                           debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 39. OFFICE FURNITURE

 40. OFFICE FIXTURES

 41. OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
     SYSTEMS EQUIPMENT AND SOFTWARE




Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                 Page 3 of 8
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          General description                              Net book value of Valuation method used                        Current value of
                                                           debtor's interest for current value                            debtor’s interest
                                                           (Where available)
 42. COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
     OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND
     CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
     MEMORABILIA, OR COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS,
     PRINTS, OR OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA
     AND CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER
     COLLECTIONS, MEMORABILIA, OR COLLECTIBLES

 43   Total of Part 7.
      ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                                     N/A


 44. Is a depreciation schedule available for any of the property listed in Part 7?
     þ No
     ¨ Yes
 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 8:     MACHINERY, EQUIPMENT, AND VEHICLES

 46. DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
      þ     No. Go to Part 9.
      ¨     Yes. Fill in the information below.


          General description                                                 Net book value of   Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES

 48. WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
     TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
     VESSELS EXAMPLES: BOATS, TRAILERS, MOTORS, FLOATING HOMES, PERSONAL
     WATERCRAFT, AND FISHING VESSELS

 49. AIRCRAFT AND ACCESSORIES

 50. OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
     EQUIPMENT)

 51   Total of Part 8.
      ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                                     N/A


 52. Is a depreciation schedule available for any of the property listed in Part 8?
     þ No
     ¨ Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 9:     REAL PROPERTY

 54. DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
      þ     No. Go to Part 10.
      ¨     Yes. Fill in the information below.


 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST




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             (Name)                                                   Pg 22 of 51
 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


          Description and location of property            Nature and extent   Net book value of   Valuation method used   Current value of
          Include street address or other description     of debtor’s         debtor's interest   for current value       debtor’s interest
          such as Assessor Parcel Number (APN), and       interest in         (Where available)
          type of property (for example, acreage,         property
          factory, warehouse, apartment or office
          building), if available


 56   Total of Part 9.
      ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                                   N/A
      ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57. Is a depreciation schedule available for any of the property listed in Part 9?
     þ No
     ¨ Yes
 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 10: INTANGIBLES AND INTELLECTUAL PROPERTY

 59. DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
      ¨     No. Go to Part 11.
      þ     Yes. Fill in the information below.



          General description                                                 Net book value of   Valuation method used   Current value of
                                                                              debtor's interest   for current value       debtor’s interest
                                                                              (Where available)

 60. PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS
      NONE

 61. INTERNET DOMAIN NAMES AND WEBSITES
      61.1.      1TRIDENT.COM                                                                     N/A                               UNKNOWN
      61.2.      ADSULTRASOUND.COM                                                                N/A                               UNKNOWN
      61.3.      ADSULTRASOUND.NET                                                                N/A                               UNKNOWN
      61.4.      DIAGLABS.COM                                                                     N/A                               UNKNOWN
      61.5.      DIAGLABS.NET                                                                     N/A                               UNKNOWN
      61.6.      DL-CAREATHOME.COM                                                                N/A                               UNKNOWN
      61.7.      LABSOFNEVADA.COM                                                                 N/A                               UNKNOWN
      61.8.      LOGICALEVOLUTION.COM                                                             N/A                               UNKNOWN
      61.9.      LOGICALEVOLUTION.NET                                                             N/A                               UNKNOWN
      61.10.     MOBILEMEDGROUP.COM                                                               N/A                               UNKNOWN
      61.11.     MOBILEMEDICALGROUPS.COM                                                          N/A                               UNKNOWN
      61.12.     MOBILEMEDICALMASS.COM                                                            N/A                               UNKNOWN
      61.13.     MOBILEX.HEALTH                                                                   N/A                               UNKNOWN
      61.14.     MOBILEXAMERICA.BIZ                                                               N/A                               UNKNOWN
      61.15.     MOBILEXAMERICA.COM                                                               N/A                               UNKNOWN
      61.16.     MOBILEXAMERICA.NET                                                               N/A                               UNKNOWN
      61.17.     MOBILEXCAREATHOME.COM                                                            N/A                               UNKNOWN
      61.18.     MOBILEXUSA.BIZ                                                                   N/A                               UNKNOWN
      61.19.     MOBILEXUSA.COM                                                                   N/A                               UNKNOWN
      61.20.     MOBILEXUSA.NET                                                                   N/A                               UNKNOWN
      61.21.     MOBILEXUSA.US                                                                    N/A                               UNKNOWN
      61.22.     MX-USA.BIZ                                                                       N/A                               UNKNOWN
      61.23.     MX-USA.NET                                                                       N/A                               UNKNOWN
      61.24.     MX-USA.US                                                                        N/A                               UNKNOWN
      61.25.     ONETRIDENT.COM                                                                   N/A                               UNKNOWN
      61.26.     ONSIGHTSENIORCARE.COM                                                            N/A                               UNKNOWN
      61.27.     RELYRADIOLOGY.COM                                                                N/A                               UNKNOWN
      61.28.     RELYRADIOLOGYGROUP.COM                                                           N/A                               UNKNOWN
      61.29.     TELRADX.COM                                                                      N/A                               UNKNOWN
      61.30.     TELRADX.NET                                                                      N/A                               UNKNOWN
      61.31.     TRIDENT.CARE                                                                     N/A                               UNKNOWN


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          General description                                              Net book value of     Valuation method used    Current value of
                                                                           debtor's interest     for current value        debtor’s interest
                                                                           (Where available)

 61. INTERNET DOMAIN NAMES AND WEBSITES
      61.32.     TRIDENT.HEALTH                                                                  N/A                                    UNKNOWN
      61.33.     TRIDENTCARE.BIZ                                                                 N/A                                    UNKNOWN
      61.34.     TRIDENTCARE.CO                                                                  N/A                                    UNKNOWN
      61.35.     TRIDENTCARE.COM                                                                 N/A                                    UNKNOWN
      61.36.     TRIDENT-CARE.COM                                                                N/A                                    UNKNOWN
      61.37.     TRIDENTCARE.HEALTH                                                              N/A                                    UNKNOWN
      61.38.     TRIDENTCARE.INFO                                                                N/A                                    UNKNOWN
      61.39.     TRIDENTCARE.ME                                                                  N/A                                    UNKNOWN
      61.40.     TRIDENTCARE.NET                                                                 N/A                                    UNKNOWN
      61.41.     TRIDENTCARE.ORG                                                                 N/A                                    UNKNOWN
      61.42.     TRIDENTCARE.US                                                                  N/A                                    UNKNOWN
      61.43.     TRIDENTUSA.CARE                                                                 N/A                                    UNKNOWN
      61.44.     TRIDENTUSA.HEALTH                                                               N/A                                    UNKNOWN
      61.45.     TRIDENTUSAHEALTH.COM                                                            N/A                                    UNKNOWN
      61.46.     TRIDENTUSAHEALTHSERVICES.COM                                                    N/A                                    UNKNOWN
      61.47.     TRIDENTUSA-MCS.COM                                                              N/A                                    UNKNOWN
      61.48.     TRIDENTUSAMOBILECLINICALSERVICES.COM                                            N/A                                    UNKNOWN
      61.49.     TRILAKESMOBILEULTRASOUND.COM                                                    N/A                                    UNKNOWN
      61.50.     US-LABS.COM                                                                     N/A                                    UNKNOWN

 62. LICENSES, FRANCHISES, AND ROYALTIES
      NONE

 63. CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS
      NONE

 64. OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY
      NONE

 65. GOODWILL
      NONE

 66   Total of Part 10.
      ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                               UNKNOWN


 67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     þ No
     ¨ Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 11: ALL OTHER ASSETS

 70. DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
     INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
      ¨     No. Go to Part 12.
      þ     Yes. Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor’s interest

 71. NOTES RECEIVABLE
      DESCRIPTION (INCLUDE NAME OF OBLIGOR)
      NONE

 72. TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)



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                                                                                                               Current value of
                                                                                                               debtor’s interest

 72. TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
      DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)
      FEDERAL NOL APPROXIMATELY $21,851,986                                                    Tax year 2018       UNDETERMINED

 73. INTERESTS IN INSURANCE POLICIES OR ANNUITIES
      ACE AMERICAN INSURANCE COMPANY - CYBER ERRORS & OMISSIONS - PRIMARY $10M                                           UNKNOWN
      AIG SPECIALTY INSURANCE COMPANY - DIRECTORS & OFFICERS, EMPLOYMENT PRACTICES, FIDUCIARY                            UNKNOWN
      AMERICAN ZURICH INSURANCE COMPANY - WORKERS’ COMPENSATION                                                          UNKNOWN
      ASPEN AMERICAN INSURANCE COMPANY - EXCESS CYBER - $5M XS $10M                                                      UNKNOWN
      ASPEN SPECIALTY INSURANCE COMPANY - AUDAX EXCESS PROPERTY $25M XS $10M                                             UNKNOWN
      COLUMBIA CASUALTY COMPANY - PACKAGE POLICY (PROFESSIONAL AND GENERAL LIABILITY)                                    UNKNOWN
      CONTINENTAL CASUALTY COMPANY - AUDAX EQUIPMENT BREAKDOWN                                                           UNKNOWN
      COVERYS SPECIALTY INSURANCE COMPANY - UMBRELLA PRIMARY                                                             UNKNOWN
      EVANSTON INSURANCE COMPANY - AUDAX EXCESS PROPERTY $25M XS $10M                                                    UNKNOWN
      FIRST SPECIALTY INSURANCE CORPORATION - AUDAX EXCESS PROPERTY $65M VS $35M                                         UNKNOWN
      HDI GLOBAL INSURANCE COMPANY - AUDAX EXCESS PROPERTY $25M XS $10M                                                  UNKNOWN
      HDI GLOBAL INSURANCE COMPANY - AUDAX PRIMARY PROPERTY $10M                                                         UNKNOWN
      HOMELAND INSURANCE COMPANY OF NY - AUDAX EXCESS PROPERTY $50M VS $100M                                             UNKNOWN
      INDIAN HARBOR INSURANCE COMPANY - AUDAX TERRORISM                                                                  UNKNOWN
      LANDMARK AMERICAN INSURANCE COMPANY - AUDAX EXCESS PROPERTY $65M VS $35M                                           UNKNOWN
      LEXINGTON INSURANCE COMPANY - AUDAX PRIMARY PROPERTY $10M                                                          UNKNOWN
      LLOYDS SYNDICATE NOVAE 2007 - AUDAX EXCESS PROPERTY $90M XS $10M                                                   UNKNOWN
      MAXUM INDEMNITY COMPANY - AUDAX EXCESS PROPERTY $90M XS $10M                                                       UNKNOWN
      NATIONAL FIRE & MARINE INSURANCE COMPANY - EXCESS LIABILITY - $20M XS $30M                                         UNKNOWN
      NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH - CRIME                                                        UNKNOWN
      SCOTTSDALE INSURANCE COMPANY - AUDAX EXCESS PROPERTY $50M VS $100M                                                 UNKNOWN
      SCOTTSDALE INSURANCE COMPANY - AUDAX EXCESS PROPERTY $65M VS $35M                                                  UNKNOWN
      SCOTTSDALE INSURANCE COMPANY - EXCESS LIABILITY - $10M XS $20M                                                     UNKNOWN
      ZURICH AMERICAN INSURANCE COMPANY - BUSINESS AUTO                                                                  UNKNOWN
      ZURICH AMERICAN INSURANCE COMPANY - WORKERS’ COMPENSATION (RETRO)                                                  UNKNOWN

 74. CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
     BEEN FILED)
      NONE

 75. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
     NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
     CLAIMS
      NONE

 76. TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY
      NONE

 77. OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
     COUNTRY CLUB MEMBERSHIP EXAMPLES: SEASON TICKETS, COUNTRY CLUB
     MEMBERSHIP
      NONE

 78   Total of Part 11.
      ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                UNKNOWN


 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     þ No
     ¨ Yes




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 Part 12: Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                                       Current value of                  Current value of real
                                                                                                 personal property                 property
 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                  $274,314.11

 81. Deposits and prepayments. Copy line 9, Part 2.


 82. Accounts receivable. Copy line 12, Part 3.


 83. Investments. Copy line 17, Part 4.


 84. Inventory. Copy line 23, Part 5.


 85. Farming and fishing-related assets. Copy line 33, Part 6.


 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88. Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è                       N/A


 89. Intangibles and intellectual property. Copy line 66, Part 10.                                        UNKNOWN

 90. All other assets. Copy line 78, Part 11.                                             +               UNKNOWN


 91. Total. Add lines 80 through 90 for each column. . . . . . . . . 91a.                                $274,314.11         + 91b.                    N/A




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $274,314.11




Official Form 206A/B                                          Schedule A/B: Assets - Real and Personal Property                                                Page 8 of 8
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  Fill in this                    Doc
               information to identify the260
                                           case:        Filed 03/26/19 Entered 03/26/19 19:27:06                               Main Document
                                                                      Pg 26 of 51
 Debtor        Trident Holding Company, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number          19-10384
  (if known)
                                                                                                                                            ¨ Check if this is an
                                                                                                                                               amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 12/15

 Be as complete and accurate as possible.

 1.    1. Do any creditors have claims secured by debtor’s property?
       ¨       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       þ       Yes. Fill in all of the information below.

  Part 1:       List All Creditors with Secured Claims

 2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than           Column A                     Column B
       one secured claim, list the creditor separately for each claim.                                         Amount of claim              Value of collateral that
                                                                                                               Do not deduct the value of   supports this claim
                                                                                                               collateral.

 2.1            Creditor’s name                                    Describe debtor’s property that is                UNKNOWN                        $9,811,000.00
                AMERICAN CASUALTY COMPANY OF                       subject to a lien
                READING, PA
                                                                   Describe the lien
                Creditor's mailing address                         LETTER OF CREDIT
                ATTN: COLLATERAL AND AGREEMENTS
                333 SOUTH WABASH AVENUE, 19TH FLR                  Is the creditor an insider or related
                CHICAGO, IL 60604                                  party?
                                                                   þ No
                Creditor's email address                           ¨ Yes
                Date or dates debt was incurred                    Is anyone else liable on this claim?
                8/29/2018                                          ¨ No
                                                                   þ Yes
                Last 4 digits of account number:
                                                                   As of the petition filing date, the claim is:
                Do multiple creditors have an interest in the      Check all that apply.
                same property?                                     þ Contingent
                þ No                                               þ Unliquidated
                ¨ Yes                                              ¨ Disputed

 2.2            Creditor’s name                                    Describe debtor’s property that is                $175,555,220.26             UNKNOWN
                ARES CAPITAL                                       subject to a lien
                                                                   SUBSTANTIALLY ALL OF THE DEBTORS
                Creditor's mailing address
                                                                   ASSETS SUBJECT TO CUSTOMARY
                C/O LATHAM & WATKINS LLP                           EXCLUSIONS
                ATTN: RICHARD. A LEVY; JAMES KTSANES
                330 NORTH WABASH AVENUE, SUITE 2800                Describe the lien
                CHICAGO, IL 60611                                  SECOND LIEN
                Creditor's email address                           Is the creditor an insider or related
                                                                   party?
                Date or dates debt was incurred
                                                                   þ No
                VARIOUS                                            ¨ Yes
                Last 4 digits of account number:              Is anyone else liable on this claim?
                                                              ¨ No
                Do multiple creditors have an interest in the
                                                              þ Yes
                same property?
                ¨ No                                          As of the petition filing date, the claim is:
                þ Yes                                         Check all that apply.
                                                              ¨ Contingent
                                                              ¨ Unliquidated
                                                              ¨ Disputed




Official Form 206D                              Schedule D: Creditors Who Have Claims Secured by Property                                               Page 1 of 4
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                                                                                                         Column A                     Column B
                                                                                                         Amount of claim              Value of collateral that
                                                                                                         Do not deduct the value of   supports this claim
                                                                                                         collateral.

 2.3         Creditor’s name                                 Describe debtor’s property that is                $219,815,899.97             UNKNOWN
             CORTLAND CAPITAL MARKET SERVICES,               subject to a lien
             LLC                                             SUBSTANTIALLY ALL OF THE DEBTORS
                                                             ASSETS SUBJECT TO CUSTOMARY
             Creditor's mailing address
                                                             EXCLUSIONS
             C/O KIRKLAND & ELLIS LLP
             ATTN: PATRICK J. NASH, JR.                      Describe the lien
             300 NORTH LASALLE                               FIRST LIEN
             CHICAGO, IL 60654
                                                             Is the creditor an insider or related
             Creditor's email address                        party?
                                                             þ No
             Date or dates debt was incurred
                                                             ¨ Yes
             VARIOUS
                                                             Is anyone else liable on this claim?
             Last 4 digits of account number:
                                                             ¨ No
                                                             þ Yes
             Do multiple creditors have an interest in the
             same property?                                As of the petition filing date, the claim is:
             ¨ No                                          Check all that apply.
             þ Yes                                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed

 2.4         Creditor’s name                               Describe debtor’s property that is                  UNKNOWN                     UNKNOWN
             DE LAGE LANDEN FINANCIAL SERVICES INC subject to a lien
                                                           EQUIPMENT
             Creditor's mailing address
             1111 OLD EAGLE SCHOOL RD                      Describe the lien
             WAYNE, PA 19087
                                                           Is the creditor an insider or related
             Creditor's email address                      party?
                                                           þ No
             Date or dates debt was incurred
                                                           ¨ Yes
             VARIOUS
                                                           Is anyone else liable on this claim?
             Last 4 digits of account number:
                                                           ¨ No
                                                           þ Yes
             Do multiple creditors have an interest in the
             same property?                                As of the petition filing date, the claim is:
             ¨ No                                          Check all that apply.
             þ Yes                                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed

 2.5         Creditor’s name                                 Describe debtor’s property that is                UNKNOWN                     UNKNOWN
             DELL FINANCIAL SERVICES LLC                     subject to a lien
                                                             EQUIPMENT
             Creditor's mailing address
             ATTN: LEGAL DEPT                                Describe the lien
             ONE DELL WAY
             ROUND ROCK, TX 78682                            Is the creditor an insider or related
                                                             party?
             Creditor's email address                        þ No
                                                             ¨ Yes
             Date or dates debt was incurred
             VARIOUS                                         Is anyone else liable on this claim?
                                                             ¨ No
             Last 4 digits of account number:
                                                             þ Yes
             Do multiple creditors have an interest in the   As of the petition filing date, the claim is:
             same property?                                  Check all that apply.
             ¨ No                                            ¨ Contingent
             þ Yes                                           ¨ Unliquidated
                                                             ¨ Disputed




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                              Page 2 of 4
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                                                                                                         Column A                     Column B
                                                                                                         Amount of claim              Value of collateral that
                                                                                                         Do not deduct the value of   supports this claim
                                                                                                         collateral.

 2.6         Creditor’s name                               Describe debtor’s property that is                  UNKNOWN                     UNKNOWN
             LEASING ASSOCIATES OF BARRINGTON INC subject to a lien
                                                           EQUIPMENT
             Creditor's mailing address
             33 WEST HIGGINS RD, STE 1030                  Describe the lien
             SOUTH BARRINGTON, IL 60010
                                                           Is the creditor an insider or related
             Creditor's email address                      party?
                                                           þ No
             Date or dates debt was incurred
                                                           ¨ Yes
             VARIOUS
                                                           Is anyone else liable on this claim?
             Last 4 digits of account number:
                                                           ¨ No
                                                           þ Yes
             Do multiple creditors have an interest in the
             same property?                                As of the petition filing date, the claim is:
             ¨ No                                          Check all that apply.
             þ Yes                                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed

 2.7         Creditor’s name                                 Describe debtor’s property that is                UNKNOWN                     UNKNOWN
             MERCHANTS AUTOMOTIVE GROUP INC                  subject to a lien
                                                             VEHICLES
             Creditor's mailing address
             1278 HOOKSETT RD                                Describe the lien
             HOOKSETT, NH 03106
                                                             Is the creditor an insider or related
             Creditor's email address                        party?
                                                             þ No
             Date or dates debt was incurred
                                                             ¨ Yes
             VARIOUS
                                                             Is anyone else liable on this claim?
             Last 4 digits of account number:
                                                             ¨ No
                                                             þ Yes
             Do multiple creditors have an interest in the
             same property?                                As of the petition filing date, the claim is:
             ¨ No                                          Check all that apply.
             þ Yes                                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed

 2.8         Creditor’s name                                 Describe debtor’s property that is                $253,420,766.05             UNKNOWN
             SILVER POINT FINANCE, LLC                       subject to a lien
                                                             SUBSTANTIALLY ALL OF THE DEBTORS
             Creditor's mailing address
                                                             ASSETS SUBJECT TO CUSTOMARY
             C/O PAUL, WEISS, RIFKIND, WHARTON &             EXCLUSIONS
             GARRISON LLP
             ATTN: ALAN W. KORNBERG; ROBERT                  Describe the lien
             BRITTON                                         PRIORITY FIRST LIEN
             1285 AVENUE OF THE AMERICAS
             NEW YORK, NY 10019-6064                         Is the creditor an insider or related
                                                             party?
             Creditor's email address                        þ No
                                                             ¨ Yes
             Date or dates debt was incurred
             VARIOUS                                         Is anyone else liable on this claim?
                                                             ¨ No
             Last 4 digits of account number:
                                                             þ Yes
             Do multiple creditors have an interest in the   As of the petition filing date, the claim is:
             same property?                                  Check all that apply.
             ¨ No                                            ¨ Contingent
             þ Yes                                           ¨ Unliquidated
                                                             ¨ Disputed




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                                                                                                         Column A                     Column B
                                                                                                         Amount of claim              Value of collateral that
                                                                                                         Do not deduct the value of   supports this claim
                                                                                                         collateral.

 2.9         Creditor’s name                                 Describe debtor’s property that is                UNKNOWN                        $9,824,735.00
             WELLS FARGO BANK, NA                            subject to a lien
                                                             CASH COLLATERAL
             Creditor's mailing address
             401 N. RESEARCH PKWY, 1ST FLOOR                 Describe the lien
             MAC D4004-017                                   CD FOR CNA
             WINSTON-SALEM, NC 27101-4157
                                                             Is the creditor an insider or related
             Creditor's email address                        party?
                                                             þ No
             Date or dates debt was incurred
                                                             ¨ Yes
             Last 4 digits of account number: 7337         Is anyone else liable on this claim?
                                                           ¨ No
             Do multiple creditors have an interest in the
                                                           þ Yes
             same property?
             ¨ No                                          As of the petition filing date, the claim is:
             þ Yes                                         Check all that apply.
                                                           þ Contingent
                                                           þ Unliquidated
                                                           ¨ Disputed

 2.10        Creditor’s name                                 Describe debtor’s property that is                UNKNOWN                        $1,828,084.00
             WELLS FARGO BANK, NA                            subject to a lien
                                                             CASH COLLATERAL
             Creditor's mailing address
             401 N. RESEARCH PKWY, 1ST FLOOR                 Describe the lien
             MAC D4004-017                                   CD FOR ZURICH AMERICAN
             WINSTON-SALEM, NC 27101-4157
                                                             Is the creditor an insider or related
             Creditor's email address                        party?
                                                             þ No
             Date or dates debt was incurred
                                                             ¨ Yes
             Last 4 digits of account number: 9586         Is anyone else liable on this claim?
                                                           ¨ No
             Do multiple creditors have an interest in the
                                                           þ Yes
             same property?
             ¨ No                                          As of the petition filing date, the claim is:
             þ Yes                                         Check all that apply.
                                                           þ Contingent
                                                           þ Unliquidated
                                                           ¨ Disputed

 2.11        Creditor’s name                                 Describe debtor’s property that is                UNKNOWN                        $1,825,000.00
             ZURICH AMERICAN INSURANCE COMPANY               subject to a lien

             Creditor's mailing address                      Describe the lien
             ATTN: DIRECT COLLATERAL UNIT                    LETTER OF CREDIT
             1299 ZURICH WAY
             5TH FLOOR - WEST                                Is the creditor an insider or related
             SCHAUMBURG, IL 60196-1056                       party?
                                                             þ No
             Creditor's email address                        ¨ Yes
             Date or dates debt was incurred                 Is anyone else liable on this claim?
             9/24/2018                                       ¨ No
                                                             þ Yes
             Last 4 digits of account number:
                                                             As of the petition filing date, the claim is:
             Do multiple creditors have an interest in the   Check all that apply.
             same property?                                  þ Contingent
             þ No                                            þ Unliquidated
             ¨ Yes                                           ¨ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                    $648,791,886.28
          Additional Page, if any.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                              Page 4 of 4
            19-10384-shl
  Fill in this                    Doc
               information to identify the260
                                           case:        Filed 03/26/19 Entered 03/26/19 19:27:06                        Main Document
                                                                      Pg 30 of 51
 Debtor        Trident Holding Company, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number          19-10384
  (if known)
                                                                                                                                  ¨ Check if this is an
                                                                                                                                     amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                               12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1: List All Creditors with PRIORITY Unsecured Claims


 1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       þ No. Go to Part 2.
       ¨ Yes. Go to line 2.
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims


 3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
       unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                   Amount of claim

 3.1            Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                    UNKNOWN
                                                                            Check all that apply.
                PATIENT 34016
                                                                            þ Contingent
                Date or dates debt was incurred                             þ Unliquidated
                                                                            þ Disputed
                Last 4 digits of account number:
                                                                            Basis for the claim:
                                                                            LITIGATION
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.2            Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                    UNKNOWN
                                                                            Check all that apply.
                PATIENT 34023
                                                                            þ Contingent
                Date or dates debt was incurred                             þ Unliquidated
                                                                            þ Disputed
                Last 4 digits of account number:
                                                                            Basis for the claim:
                                                                            LITIGATION
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.3            Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                 $19,045,479.76
                                                                            Check all that apply.
                REVELSTOKE CAPITAL PARTNERS FUND I, L.P.
                C/O WINSTON & STRAWN, LLP                                   ¨ Contingent
                ATTN: BRADLEY C. VAIANA                                     ¨ Unliquidated
                200 PARK AVENUE                                             ¨ Disputed
                NEW YORK, NY 10166                                          Basis for the claim:
                Date or dates debt was incurred                             TRANCHE B PIK NOTES
                                                                            Is the claim subject to offset?
                Last 4 digits of account number:                            þ No
                                                                            ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1 of 2
 Debtor     19-10384-shl
             Trident Holding Company,Doc
                                     LLC 260       Filed 03/26/19 Entered Case
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              (Name)                                             Pg 31 of 51
  Part 2:     Additional Page

                                                                                                                                 Amount of claim

 3.4          Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                 $17,082,161.84
                                                                          Check all that apply.
              REVELSTOKE CAPITAL PARTNERS FUND I, L.P.
              C/O WINSTON & STRAWN, LLP                                   ¨ Contingent
              ATTN: BRADLEY C. VAIANA                                     ¨ Unliquidated
              200 PARK AVENUE                                             ¨ Disputed
              NEW YORK, NY 10166                                          Basis for the claim:
              Date or dates debt was incurred                             TRANCHE A PIK NOTES
                                                                          Is the claim subject to offset?
              Last 4 digits of account number:                            þ No
                                                                          ¨ Yes

    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                                      Total of claim amounts


   5a. Total claims from Part 1                                                                             5a.                                 NA



   5b. Total claims from Part 2                                                                             5b.   +              $36,127,641.60



   5c. Total of Parts 1 and 2                                                                               5c.                  $36,127,641.60
       Lines 5a + 5b = 5c.




Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 2
            19-10384-shl
  Fill in this                    Doc
               information to identify the260
                                           case:        Filed 03/26/19 Entered 03/26/19 19:27:06                           Main Document
                                                                      Pg 32 of 51
 Debtor        Trident Holding Company, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number          19-10384
  (if known)
                                                                                                                                      ¨ Check if this is an
                                                                                                                                         amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).

 2.    List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease

 2.1            State what the contract       LEASE PURCHASE AGREEMENT                  BECKMAN COULTER INC
                or lease is for and the       #12763000 DTD 6/20/2017                   250 S KRAEMER BLVD
                nature of the debtor’s                                                  BREA, CA 92821-6208
                interest
                State the term remaining      CURRENT

                List the contract number
                of any government
                contract

 2.2            State what the contract       LEASE AGREEMENT                           DE LAGE LANDEN FINANCIAL SERVICES INC
                or lease is for and the                                                 1111 OLD EAGLE SCHOOL RD
                nature of the debtor’s                                                  WAYNE, PA 19087
                interest
                State the term remaining      CURRENT

                List the contract number
                of any government
                contract

 2.3            State what the contract       LEASE AGREEMENT                           DE LAGE LANDEN FINANCIAL SERVICES INC
                or lease is for and the                                                 1111 OLD EAGLE SCHOOL RD
                nature of the debtor’s                                                  WAYNE, PA 19087
                interest
                State the term remaining      CURRENT

                List the contract number
                of any government
                contract

 2.4            State what the contract       LEASE AGREEMENT                           DE LAGE LANDEN FINANCIAL SERVICES INC
                or lease is for and the       EQUIPMENT MODEL: MINDRAY M7               LEASE PROCESSING CENTER
                nature of the debtor’s        ADVANCED ULTRASOUND SYSTEM                111 OLD EAGLE SCHOOL RD
                interest                                                                WAYNE, PA 19067

                State the term remaining      CURRENT

                List the contract number
                of any government
                contract




Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 6
 Debtor    19-10384-shl
            Trident Holding Company,Doc
                                    LLC 260       Filed 03/26/19 Entered Case
                                                                            03/26/19       19:27:06
                                                                               number (if known) 19-10384 Main Document
            (Name)                                              Pg 33 of 51
        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.5        State what the contract    LEASE AGREEMENT                        DE LAGE LANDEN FINANCIAL SERVICES INC
            or lease is for and the    EQUIPMENT MODEL: MINDRAY M8            LEASE PROCESSING CENTER
            nature of the debtor’s     ADVANCED ULTRASOUND SYSTEM             111 OLD EAGLE SCHOOL RD
            interest                                                          WAYNE, PA 19067

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.6        State what the contract    CORPORATE GUARANTY                     DELL FINANCIAL SERVICES LLC
            or lease is for and the    RE: MASTER LEASE AGREEMENT NO          ATTN: LEGAL DEPT
            nature of the debtor’s     588788-45545 DTD 7/17/2018             ONE DELL WAY
            interest                                                          ROUND ROCK, TX 78682

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.7        State what the contract    GUARANTOR'S CERTIFICATE OF             DELL FINANCIAL SERVICES LLC
            or lease is for and the    INCUMBENCY AND AUTHORITY               ATTN: LEGAL DEPT
            nature of the debtor’s                                            ONE DELL WAY
            interest                                                          ROUND ROCK, TX 78682

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.8        State what the contract    LEASE AGREEMENT #41481081              EVERBANK COMMERCIAL FINANCE INC
            or lease is for and the                                           ATTN: HEATHER ASELTA, ACCOUNT MGR
            nature of the debtor’s                                            10 WATERVIEW BLVD
            interest                                                          PARSIPANNY, NJ 07054

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.9        State what the contract    LEASE AGREEMENT #41481081              EVERBANK COMMERCIAL FINANCE INC
            or lease is for and the                                           ATTN: HEATHER ASELTA, ACCOUNT MGR
            nature of the debtor’s                                            10 WATERVIEW BLVD
            interest                                                          PARSIPPANY, NJ 07054

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.10       State what the contract    LEASE AGREEMENT #41485586              EVERBANK COMMERCIAL FINANCE INC
            or lease is for and the                                           ATTN: HEATHER ASELTA, ACCOUNT MGR
            nature of the debtor’s                                            10 WATERVIEW BLVD
            interest                                                          PARSIPPANY, NJ 07054

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 6
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                                                                               number (if known) 19-10384 Main Document
            (Name)                                              Pg 34 of 51
        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.11       State what the contract    LEASE AGREEMENT #41485586              EVERBANK COMMERCIAL FINANCE INC
            or lease is for and the                                           ATTN: HEATHER ASELTA, ACCOUNT MGR
            nature of the debtor’s                                            10 WATERVIEW BLVD
            interest                                                          PARSIPPANY, NJ 07054

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.12       State what the contract    LEASE AGREEMENT NO 41481081            EVERBANK COMMERCIAL FINANCE INC
            or lease is for and the                                           ATTN: HEATHER ASELTA, ACCOUNT MGR
            nature of the debtor’s                                            10 WATERVIEW BLVD
            interest                                                          PARSIPPANY, NJ 07054

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.13       State what the contract    LEASE AGREEMENT NO. 41481081           EVERBANK COMMERCIAL FINANCE INC
            or lease is for and the    EQUIPMENT MODEL: MINDRAY M7            ATTN: HEATHER ASELTA, ACCOUNT MGR
            nature of the debtor’s     ADVANCED ULTRASOUND SYSTEM             10 WATERVIEW BLVD
            interest                                                          PARSIPPANY, NJ 07064

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.14       State what the contract    LEASE AGREEMENT NO. 41485586           EVERBANK COMMERCIAL FINANCE INC
            or lease is for and the    EQUIPMENT MODEL: MINDRAY M7            ATTN: HEATHER ASELTA, ACCOUNT MGR
            nature of the debtor’s     ADVANCED ULTRASOUND SYSTEM             10 WATERVIEW BLVD
            interest                                                          PARSIPPANY, NJ 07064

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.15       State what the contract    LEASE AGREEMENT NO. 41485586           EVERBANK COMMERCIAL FINANCE INC
            or lease is for and the    EQUIPMENT MODEL: MINDRAY M7            ATTN: HEATHER ASELTA, ACCOUNT MGR
            nature of the debtor’s     ADVANCED ULTRASOUND SYSTEM             10 WATERVIEW BLVD
            interest                                                          PARSIPPANY, NJ 07064

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.16       State what the contract    CONTINUING US PARENT GUARANTY          IBM CREDIT LLC
            or lease is for and the    OF PAYMENT                             ATTN: COLLATERAL ANALYST
            nature of the debtor’s     RE: MASTER LEASE & FINANCE             1 NORTH CASTLE DR
            interest                   AGREEMENT NO 074139007L DTD            ARMONK, NY 10504
                                       6/9/2017
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                 Page 3 of 6
 Debtor    19-10384-shl
            Trident Holding Company,Doc
                                    LLC 260       Filed 03/26/19 Entered Case
                                                                            03/26/19       19:27:06
                                                                               number (if known) 19-10384 Main Document
            (Name)                                              Pg 35 of 51
        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.17       State what the contract    LEASE PURCHASE AGREEMENT               LEASING ASSOCIATES OF BARRINGTON INC
            or lease is for and the    #12763000 DTD 6/20/2017                220 NORTH RIVER ST
            nature of the debtor’s                                            EAST DUNDEE, IL 60118
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.18       State what the contract    LEASE PURCHASE AGREEMENT               LEASING ASSOCIATES OF BARRINGTON INC
            or lease is for and the    #12788000 DTD 7/11/2017                220 NORTH RIVER ST
            nature of the debtor’s                                            EAST DUNDEE, IL 60118
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.19       State what the contract    LEASE PURCHASE AGREEMENT NO.           LEASING ASSOCIATES OF BARRINGTON INC
            or lease is for and the    12763000                               ATTN: CEO
            nature of the debtor’s                                            220 N RIVER ST
            interest                                                          EAST DUNDEE, IL 60118

            State the term remaining   9/21/2022

            List the contract number
            of any government
            contract

 2.20       State what the contract    LEASE AGREEMENT DTD 7/11/2017          LEASING ASSOCIATES OF BARRINGTON INC
            or lease is for and the    NO. 12788000                           ATTN: STEVE TINTERA, VP FINANCE
            nature of the debtor’s                                            220 N RIVER ST
            interest                                                          EAST DUNDEE, IL 60118

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.21       State what the contract    LEASE PURCHASE AGREEMENT NO.           LEASING ASSOCIATES OF BARRINGTON INC
            or lease is for and the    12788000                               ATTN: STEVE TINTERA, VP FINANCE
            nature of the debtor’s                                            220 N RIVER ST
            interest                                                          EAST DUNDEE, IL 60118

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.22       State what the contract    ACCIDENT/CLAIMS MANAGEMENT             MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the    AND/OR SUBROGATION ADDENDUM            ATTN: GARY SINGER
            nature of the debtor’s     RE: FLEET SERVICES MASTER              1278 HOOKSETT RD
            interest                   AGREEMENT DTD 10/30/17                 HOOKSETT, NH 03106

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                 Page 4 of 6
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            Trident Holding Company,Doc
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                                                                            03/26/19       19:27:06
                                                                               number (if known) 19-10384 Main Document
            (Name)                                              Pg 36 of 51
        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.23       State what the contract    CAPITAL MASTER LEASE AGREEMENT         MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the    DTD 10/14/2015                         ATTN: GARY SINGER
            nature of the debtor’s                                            1278 HOOKSETT RD
            interest                                                          HOOKSETT, NH 03106

            State the term remaining

            List the contract number
            of any government
            contract

 2.24       State what the contract    CONTINUING GUARANTY                    MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the    RE: MASTER LEASE AGREEMENT DTD         ATTN: GARY SINGER
            nature of the debtor’s     10/14/2015                             1278 HOOKSETT RD
            interest                                                          HOOKSETT, NH 03106

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.25       State what the contract    FEE SCHEDULE                           MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the    RE: FLEET SERVICES MASTER              ATTN: GARY SINGER
            nature of the debtor’s     AGREEMENT DTD 10/30/17                 1278 HOOKSETT RD
            interest                                                          HOOKSETT, NH 03106

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.26       State what the contract    FLEET ASSIST ADDENDUM                  MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the    RE: FLEET SERVICES MASTER              ATTN: GARY SINGER
            nature of the debtor’s     AGREEMENT DTD 10/30/17                 1278 HOOKSETT RD
            interest                                                          HOOKSETT, NH 03106

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.27       State what the contract    FLEET SERVICES MASTER AGREEMENT MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the                                    ATTN: GARY SINGER
            nature of the debtor’s                                     1278 HOOKSETT RD
            interest                                                   HOOKSETT, NH 03106

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.28       State what the contract    FLEET SERVICES MASTER AGREEMENT MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the    DTD 10/30/2017                  ATTN: GARY SINGER
            nature of the debtor’s                                     1278 HOOKSETT RD
            interest                                                   HOOKSETT, NH 03106

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                 Page 5 of 6
 Debtor    19-10384-shl
            Trident Holding Company,Doc
                                    LLC 260       Filed 03/26/19 Entered Case
                                                                            03/26/19       19:27:06
                                                                               number (if known) 19-10384 Main Document
            (Name)                                              Pg 37 of 51
        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.29       State what the contract    FUEL CARD PROGRAM AND                  MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the    MANAGEMENT ADDENDUM                    ATTN: GARY SINGER
            nature of the debtor’s     RE: FLEET SERVICES MASTER              1278 HOOKSETT RD
            interest                   AGREEMENT DTD 10/30/17                 HOOKSETT, NH 03106

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.30       State what the contract    MAINTENANCE                            MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the    MANAGEMENT-ADMINISTERED                ATTN: GARY SINGER
            nature of the debtor’s     MAINTENANCE ADDENDUM                   1278 HOOKSETT RD
            interest                   RE: FLEET SERVICES MASTER              HOOKSETT, NH 03106
                                       AGREEMENT DTD 10/30/17
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.31       State what the contract    TOLL MANAGEMENT PLUS ADDENDUM          MERCHANTS AUTOMOTIVE GROUP, INC.
            or lease is for and the    RE: FLEET SERVICES MASTER              ATTN: GARY SINGER
            nature of the debtor’s     AGREEMENT DTD 10/30/17                 1278 HOOKSETT RD
            interest                                                          HOOKSETT, NH 03106

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.32       State what the contract    LETTER AGREEMENT DTD 9/21/2018         WELLS FARGO BANK, NA
            or lease is for and the    RE: AMENDMENT TO SECURITY              401 N. RESEARCH PKWY, 1ST FLOOR
            nature of the debtor’s     AGREEMENT                              MAC D4004-017
            interest                                                          WINSTON-SALEM, NC 27101-4157

            State the term remaining

            List the contract number
            of any government
            contract

 2.33       State what the contract    THIRD PARTY SECURITY AGREEMENT         WELLS FARGO BANK, NA
            or lease is for and the    DTD 8/22/2018                          401 N. RESEARCH PKWY, 1ST FLOOR
            nature of the debtor’s                                            MAC D4004-017
            interest                                                          WINSTON-SALEM, NC 27101-4157

            State the term remaining

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                 Page 6 of 6
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  Fill in this                    Doc
               information to identify the260
                                           case:        Filed 03/26/19 Entered 03/26/19 19:27:06                              Main Document
                                                                      Pg 38 of 51
 Debtor        Trident Holding Company, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number          19-10384
  (if known)
                                                                                                                                         ¨ Check if this is an
                                                                                                                                            amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                   12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ Yes.

 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                           Column 2: Creditor
                                                                                                                                            Check all schedules
                Name                            Mailing Address                                        Name                                 that apply

 2.1            AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         AMERICAN CASUALTY                    þ D
                SERVICES, INC.                  SPARKS, MD 21152                                       COMPANY OF READING, PA               ¨ E/F
                                                                                                                                            ¨ G

 2.2            AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         ARES CAPITAL                         þ D
                SERVICES, INC.                  SPARKS, MD 21152                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.3            AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         CORTLAND CAPITAL MARKET              þ D
                SERVICES, INC.                  SPARKS, MD 21152                                       SERVICES, LLC                        ¨ E/F
                                                                                                                                            ¨ G

 2.4            AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         DE LAGE LANDEN FINANCIAL             þ D
                SERVICES, INC.                  SPARKS, MD 21152                                       SERVICES INC                         ¨ E/F
                                                                                                                                            ¨ G

 2.5            AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         MERCHANTS AUTOMOTIVE                 þ D
                SERVICES, INC.                  SPARKS, MD 21152                                       GROUP INC                            ¨ E/F
                                                                                                                                            ¨ G

 2.6            AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         SILVER POINT FINANCE, LLC            þ D
                SERVICES, INC.                  SPARKS, MD 21152                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.7            AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         WELLS FARGO BANK, NA                 ¨ D
                SERVICES, INC.                  SPARKS, MD 21152                                                                            ¨ E/F
                                                                                                                                            þ G

 2.8            AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         WELLS FARGO BANK, NA                 ¨ D
                SERVICES, INC.                  SPARKS, MD 21152                                                                            ¨ E/F
                                                                                                                                            þ G

 2.9            AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         WELLS FARGO BANK, NA                 þ D
                SERVICES, INC.                  SPARKS, MD 21152                                       (CNA)                                ¨ E/F
                                                                                                                                            ¨ G

 2.10           AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         WELLS FARGO BANK, NA                 þ D
                SERVICES, INC.                  SPARKS, MD 21152                                       (ZURICH)                             ¨ E/F
                                                                                                                                            ¨ G

 2.11           AMERICAN DIAGNOSTICS            930 RIDGEBROOK ROAD, 3RD FLOOR                         ZURICH AMERICAN                      þ D
                SERVICES, INC.                  SPARKS, MD 21152                                       INSURANCE COMPANY                    ¨ E/F
                                                                                                                                            ¨ G


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 2.12       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
            DIAGNOSTICS, LLC            SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.13       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
            DIAGNOSTICS, LLC            SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.14       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
            DIAGNOSTICS, LLC            SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                               ¨ G

 2.15       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
            DIAGNOSTICS, LLC            SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.16       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            DIAGNOSTICS, LLC            SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.17       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            DIAGNOSTICS, LLC            SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.18       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            DIAGNOSTICS, LLC            SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                               ¨ G

 2.19       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            DIAGNOSTICS, LLC            SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                               ¨ G

 2.20       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
            DIAGNOSTICS, LLC            SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.21       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
            ULTRASOUND, LLC             SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.22       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
            ULTRASOUND, LLC             SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.23       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
            ULTRASOUND, LLC             SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                               ¨ G

 2.24       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
            ULTRASOUND, LLC             SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.25       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            ULTRASOUND, LLC             SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.26       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            ULTRASOUND, LLC             SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.27       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            ULTRASOUND, LLC             SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                               ¨ G

 2.28       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            ULTRASOUND, LLC             SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
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 2.29       COMMUNITY MOBILE            930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
            ULTRASOUND, LLC             SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.30       DIAGNOSTIC LABS             930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
            HOLDINGS, LLC               SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.31       DIAGNOSTIC LABS             930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
            HOLDINGS, LLC               SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.32       DIAGNOSTIC LABS             930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
            HOLDINGS, LLC               SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                               ¨ G

 2.33       DIAGNOSTIC LABS             930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
            HOLDINGS, LLC               SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.34       DIAGNOSTIC LABS             930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            HOLDINGS, LLC               SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.35       DIAGNOSTIC LABS             930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            HOLDINGS, LLC               SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.36       DIAGNOSTIC LABS             930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            HOLDINGS, LLC               SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                               ¨ G

 2.37       DIAGNOSTIC LABS             930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            HOLDINGS, LLC               SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                               ¨ G

 2.38       DIAGNOSTIC LABS             930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
            HOLDINGS, LLC               SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.39       FC PIONEER HOLDING          930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
            COMPANY, LLC                SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.40       FC PIONEER HOLDING          930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            COMPANY, LLC                SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.41       FC PIONEER HOLDING          930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            COMPANY, LLC                SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.42       FC PIONEER HOLDING          930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            COMPANY, LLC                SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                               ¨ G

 2.43       FC PIONEER HOLDING          930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            COMPANY, LLC                SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                               ¨ G

 2.44       FC PIONEER HOLDING          930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
            COMPANY, LLC                SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.45       JLMD MANAGER, LLC           930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
                                        SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
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 2.46       JLMD MANAGER, LLC           930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.47       JLMD MANAGER, LLC           930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
                                        SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                               ¨ G

 2.48       JLMD MANAGER, LLC           930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.49       JLMD MANAGER, LLC           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.50       JLMD MANAGER, LLC           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.51       JLMD MANAGER, LLC           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                               ¨ G

 2.52       JLMD MANAGER, LLC           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                               ¨ G

 2.53       JLMD MANAGER, LLC           930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
                                        SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.54       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
                                        SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.55       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.56       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
                                        SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                               ¨ G

 2.57       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             LEASING ASSOCIATES OF       þ D
                                        SPARKS, MD 21152                           BARRINGTON INC              ¨ E/F
                                                                                                               ¨ G

 2.58       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             MERCHANTS AUTOMOTIVE        þ D
                                        SPARKS, MD 21152                           GROUP INC                   ¨ E/F
                                                                                                               ¨ G

 2.59       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.60       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.61       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.62       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (CNA)                       ¨ E/F
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 2.63       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                               ¨ G

 2.64       KAN-DI-KI, LLC              930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
                                        SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.65       MAIN STREET CLINICAL        930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
            LABORATORY, INC.            SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.66       MAIN STREET CLINICAL        930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
            LABORATORY, INC.            SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.67       MAIN STREET CLINICAL        930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
            LABORATORY, INC.            SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                               ¨ G

 2.68       MAIN STREET CLINICAL        930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
            LABORATORY, INC.            SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.69       MAIN STREET CLINICAL        930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            LABORATORY, INC.            SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.70       MAIN STREET CLINICAL        930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            LABORATORY, INC.            SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.71       MAIN STREET CLINICAL        930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            LABORATORY, INC.            SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                               ¨ G

 2.72       MAIN STREET CLINICAL        930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            LABORATORY, INC.            SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                               ¨ G

 2.73       MAIN STREET CLINICAL        930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
            LABORATORY, INC.            SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.74       MDX-MDL HOLDINGS, LLC       930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
                                        SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.75       MDX-MDL HOLDINGS, LLC       930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.76       MDX-MDL HOLDINGS, LLC       930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
                                        SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                               ¨ G

 2.77       MDX-MDL HOLDINGS, LLC       930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.78       MDX-MDL HOLDINGS, LLC       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.79       MDX-MDL HOLDINGS, LLC       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
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 2.80       MDX-MDL HOLDINGS, LLC       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                               ¨ G

 2.81       MDX-MDL HOLDINGS, LLC       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                               ¨ G

 2.82       MDX-MDL HOLDINGS, LLC       930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
                                        SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.83       METROSTAT CLINICAL          930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
            LABORATORY - AUSTIN,        SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
            INC.                                                                                               ¨ G

 2.84       METROSTAT CLINICAL          930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
            LABORATORY - AUSTIN,        SPARKS, MD 21152                                                       ¨ E/F
            INC.                                                                                               ¨ G

 2.85       METROSTAT CLINICAL          930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
            LABORATORY - AUSTIN,        SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
            INC.                                                                                               ¨ G

 2.86       METROSTAT CLINICAL          930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
            LABORATORY - AUSTIN,        SPARKS, MD 21152                                                       ¨ E/F
            INC.                                                                                               ¨ G

 2.87       METROSTAT CLINICAL          930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            LABORATORY - AUSTIN,        SPARKS, MD 21152                                                       ¨ E/F
            INC.                                                                                               þ G

 2.88       METROSTAT CLINICAL          930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
            LABORATORY - AUSTIN,        SPARKS, MD 21152                                                       ¨ E/F
            INC.                                                                                               þ G

 2.89       METROSTAT CLINICAL          930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            LABORATORY - AUSTIN,        SPARKS, MD 21152                           (CNA)                       ¨ E/F
            INC.                                                                                               ¨ G

 2.90       METROSTAT CLINICAL          930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
            LABORATORY - AUSTIN,        SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
            INC.                                                                                               ¨ G

 2.91       METROSTAT CLINICAL          930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
            LABORATORY - AUSTIN,        SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
            INC.                                                                                               ¨ G

 2.92       MX HOLDINGS, LLC            930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
                                        SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.93       MX HOLDINGS, LLC            930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.94       MX HOLDINGS, LLC            930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
                                        SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                               ¨ G

 2.95       MX HOLDINGS, LLC            930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.96       MX HOLDINGS, LLC            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
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 2.97       MX HOLDINGS, LLC            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.98       MX HOLDINGS, LLC            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                               ¨ G

 2.99       MX HOLDINGS, LLC            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                               ¨ G

 2.100      MX HOLDINGS, LLC            930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
                                        SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.101      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
                                        SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.102      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.103      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
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                                                                                                               ¨ G

 2.104      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             DE LAGE LANDEN FINANCIAL    þ D
                                        SPARKS, MD 21152                           SERVICES INC                ¨ E/F
                                                                                                               ¨ G

 2.105      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             DELL FINANCIAL SERVICES     þ D
                                        SPARKS, MD 21152                           LLC                         ¨ E/F
                                                                                                               ¨ G

 2.106      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               ¨ G

 2.107      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.108      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
                                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                               þ G

 2.109      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                               ¨ G

 2.110      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
                                        SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                               ¨ G

 2.111      MX USA, LLC                 930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
                                        SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                               ¨ G

 2.112      NEW TRIDENT HOLDCORP,       930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
            INC.                        SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                               ¨ G

 2.113      NEW TRIDENT HOLDCORP,       930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
            INC.                        SPARKS, MD 21152                                                       ¨ E/F
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           Name                        Mailing Address                            Name                         that apply

 2.114     NEW TRIDENT HOLDCORP,       930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           INC.                        SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                              ¨ G

 2.115     NEW TRIDENT HOLDCORP,       930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           INC.                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.116     NEW TRIDENT HOLDCORP,       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           INC.                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.117     NEW TRIDENT HOLDCORP,       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           INC.                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.118     NEW TRIDENT HOLDCORP,       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           INC.                        SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                              ¨ G

 2.119     NEW TRIDENT HOLDCORP,       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           INC.                        SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                              ¨ G

 2.120     NEW TRIDENT HOLDCORP,       930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           INC.                        SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                              ¨ G

 2.121     RELY RADIOLOGY              930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
           HOLDINGS, LLC               SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                              ¨ G

 2.122     RELY RADIOLOGY              930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
           HOLDINGS, LLC               SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.123     RELY RADIOLOGY              930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           HOLDINGS, LLC               SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                              ¨ G

 2.124     RELY RADIOLOGY              930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           HOLDINGS, LLC               SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.125     RELY RADIOLOGY              930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           HOLDINGS, LLC               SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.126     RELY RADIOLOGY              930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           HOLDINGS, LLC               SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.127     RELY RADIOLOGY              930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           HOLDINGS, LLC               SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                              ¨ G

 2.128     RELY RADIOLOGY              930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           HOLDINGS, LLC               SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                              ¨ G

 2.129     RELY RADIOLOGY              930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           HOLDINGS, LLC               SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                              ¨ G

 2.130     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
           SALES AND MARKETING,        SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
           LLC                                                                                                ¨ G


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           Name                        Mailing Address                            Name                         that apply

 2.131     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
           SALES AND MARKETING,        SPARKS, MD 21152                                                       ¨ E/F
           LLC                                                                                                ¨ G

 2.132     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           SALES AND MARKETING,        SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
           LLC                                                                                                ¨ G

 2.133     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             LEASING ASSOCIATES OF       þ D
           SALES AND MARKETING,        SPARKS, MD 21152                           BARRINGTON INC              ¨ E/F
           LLC                                                                                                ¨ G

 2.134     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             MERCHANTS AUTOMOTIVE        þ D
           SALES AND MARKETING,        SPARKS, MD 21152                           GROUP INC                   ¨ E/F
           LLC                                                                                                ¨ G

 2.135     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           SALES AND MARKETING,        SPARKS, MD 21152                                                       ¨ E/F
           LLC                                                                                                ¨ G

 2.136     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SALES AND MARKETING,        SPARKS, MD 21152                                                       ¨ E/F
           LLC                                                                                                þ G

 2.137     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SALES AND MARKETING,        SPARKS, MD 21152                                                       ¨ E/F
           LLC                                                                                                þ G

 2.138     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SALES AND MARKETING,        SPARKS, MD 21152                           (CNA)                       ¨ E/F
           LLC                                                                                                ¨ G

 2.139     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SALES AND MARKETING,        SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
           LLC                                                                                                ¨ G

 2.140     SCHRYVER MEDICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           SALES AND MARKETING,        SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
           LLC                                                                                                ¨ G

 2.141     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                              ¨ G

 2.142     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.143     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                              ¨ G

 2.144     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             DELL FINANCIAL SERVICES     þ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                           LLC                         ¨ E/F
                                                                                                              ¨ G

 2.145     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             MERCHANTS AUTOMOTIVE        þ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                           GROUP INC                   ¨ E/F
                                                                                                              ¨ G

 2.146     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.147     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                                                       ¨ E/F
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 2.148     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.149     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                              ¨ G

 2.150     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                              ¨ G

 2.151     SYMPHONY DIAGNOSTIC         930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           SERVICES NO. 1, LLC         SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                              ¨ G

 2.152     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
           SERVICES HOLDINGS, INC.     SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                              ¨ G

 2.153     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
           SERVICES HOLDINGS, INC.     SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.154     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           SERVICES HOLDINGS, INC.     SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
                                                                                                              ¨ G

 2.155     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           SERVICES HOLDINGS, INC.     SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.156     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SERVICES HOLDINGS, INC.     SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.157     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SERVICES HOLDINGS, INC.     SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.158     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SERVICES HOLDINGS, INC.     SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                              ¨ G

 2.159     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SERVICES HOLDINGS, INC.     SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                              ¨ G

 2.160     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           SERVICES HOLDINGS, INC.     SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                              ¨ G

 2.161     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
           SERVICES HOLDINGS, LLC      SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                              ¨ G

 2.162     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
           SERVICES HOLDINGS, LLC      SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.163     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           SERVICES HOLDINGS, LLC      SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
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 2.164     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           SERVICES HOLDINGS, LLC      SPARKS, MD 21152                                                       ¨ E/F
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 2.165     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SERVICES HOLDINGS, LLC      SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.166     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SERVICES HOLDINGS, LLC      SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.167     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SERVICES HOLDINGS, LLC      SPARKS, MD 21152                           (CNA)                       ¨ E/F
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 2.168     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SERVICES HOLDINGS, LLC      SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
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 2.169     TRIDENT CLINICAL            930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           SERVICES HOLDINGS, LLC      SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                              ¨ G

 2.170     TRIDENTUSA FOOT CARE        930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
           SERVICES LLC                SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
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 2.171     TRIDENTUSA FOOT CARE        930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
           SERVICES LLC                SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.172     TRIDENTUSA FOOT CARE        930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           SERVICES LLC                SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
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 2.173     TRIDENTUSA FOOT CARE        930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           SERVICES LLC                SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.174     TRIDENTUSA FOOT CARE        930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SERVICES LLC                SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.175     TRIDENTUSA FOOT CARE        930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           SERVICES LLC                SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.176     TRIDENTUSA FOOT CARE        930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SERVICES LLC                SPARKS, MD 21152                           (CNA)                       ¨ E/F
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 2.177     TRIDENTUSA FOOT CARE        930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           SERVICES LLC                SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                              ¨ G

 2.178     TRIDENTUSA FOOT CARE        930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           SERVICES LLC                SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                              ¨ G

 2.179     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
           CLINICAL SERVICES, LLC      SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                              ¨ G

 2.180     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
           CLINICAL SERVICES, LLC      SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.181     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           CLINICAL SERVICES, LLC      SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
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 2.182     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           CLINICAL SERVICES, LLC      SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.183     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           CLINICAL SERVICES, LLC      SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.184     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           CLINICAL SERVICES, LLC      SPARKS, MD 21152                                                       ¨ E/F
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 2.185     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           CLINICAL SERVICES, LLC      SPARKS, MD 21152                           (CNA)                       ¨ E/F
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 2.186     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           CLINICAL SERVICES, LLC      SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
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 2.187     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           CLINICAL SERVICES, LLC      SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                              ¨ G

 2.188     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
           INFUSION SERVICES, LLC      SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
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 2.189     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
           INFUSION SERVICES, LLC      SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.190     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           INFUSION SERVICES, LLC      SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
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 2.191     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           INFUSION SERVICES, LLC      SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.192     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           INFUSION SERVICES, LLC      SPARKS, MD 21152                                                       ¨ E/F
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 2.193     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           INFUSION SERVICES, LLC      SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.194     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           INFUSION SERVICES, LLC      SPARKS, MD 21152                           (CNA)                       ¨ E/F
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 2.195     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           INFUSION SERVICES, LLC      SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                              ¨ G

 2.196     TRIDENTUSA MOBILE           930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           INFUSION SERVICES, LLC      SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                              ¨ G

 2.197     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             AMERICAN CASUALTY           þ D
           INC.                        SPARKS, MD 21152                           COMPANY OF READING, PA      ¨ E/F
                                                                                                              ¨ G

 2.198     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             ARES CAPITAL                þ D
           INC.                        SPARKS, MD 21152                                                       ¨ E/F
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 2.199     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             CORTLAND CAPITAL MARKET     þ D
           INC.                        SPARKS, MD 21152                           SERVICES, LLC               ¨ E/F
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 2.200     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             LEASING ASSOCIATES OF       þ D
           INC.                        SPARKS, MD 21152                           BARRINGTON INC              ¨ E/F
                                                                                                              ¨ G

 2.201     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             LEASING ASSOCIATES OF       þ D
           INC.                        SPARKS, MD 21152                           BARRINGTON INC              ¨ E/F
                                                                                                              ¨ G

 2.202     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             MERCHANTS AUTOMOTIVE        þ D
           INC.                        SPARKS, MD 21152                           GROUP INC                   ¨ E/F
                                                                                                              ¨ G

 2.203     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             SILVER POINT FINANCE, LLC   þ D
           INC.                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              ¨ G

 2.204     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           INC.                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.205     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        ¨ D
           INC.                        SPARKS, MD 21152                                                       ¨ E/F
                                                                                                              þ G

 2.206     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           INC.                        SPARKS, MD 21152                           (CNA)                       ¨ E/F
                                                                                                              ¨ G

 2.207     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             WELLS FARGO BANK, NA        þ D
           INC.                        SPARKS, MD 21152                           (ZURICH)                    ¨ E/F
                                                                                                              ¨ G

 2.208     U.S. LAB & RADIOLOGY,       930 RIDGEBROOK ROAD, 3RD FLOOR             ZURICH AMERICAN             þ D
           INC.                        SPARKS, MD 21152                           INSURANCE COMPANY           ¨ E/F
                                                                                                              ¨ G




Official Form 206H                                       Schedule H: Codebtors                                     Page 13 of 13
  Fill in this information to identify the case:
                  19-10384-shl            Doc 260         Filed 03/26/19 Entered 03/26/19 19:27:06                           Main Document
 Debtor        Trident Holding Company, LLC                             Pg 51 of 51

 United States Bankruptcy Court for the: Southern District of New York


 Case number          19-10384
  (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

                Delcaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on 3/26/2019
                           MM / DD / YYYY
                                                              û     /s/ David F. Smith III
                                                                    Signature of individual signing on behalf of debtor


                                                                    David F. Smith III
                                                                    Printed name


                                                                    Chief Financial Officer
                                                                    Position or relationship to debtor




Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
